USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 1 ofPage
                                                                           48    1




 1                       IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
 2                                 HAMMOND DIVISION

 3
        UNITED STATES OF AMERICA,
 4
              vs.                                      2:11-CR-163
 5
        MARTIN J. JONASSEN,
 6
                    Defendant.
 7
                    TRANSCRIPT OF ARRAIGNMENT/DETENTION HEARING
 8                      BEFORE THE HONORABLE PAUL R. CHERRY
                                  MAGISTRATE JUDGE
 9                                OCTOBER 26, 2011

10      FOR THE GOVERNMENT:           Jill Rochelle Koster
                                      U.S. Attorney's Office
11                                    5400 Federal Plaza, Suite 1500
                                      Hammond, Indiana 46320
12                                    219-937-5500

13      FOR THE DEFENDANT:            John E. Martin
                                      Federal Community Defenders, Inc.
14                                    31 Sibley Street
                                      Hammond, Indiana 46320
15                                    219-9378020

16

17      Court Reporter:          Kelly M. Fitzgerald, RMR, CRR
                                 Official Court Reporter
18                               United States District Court
                                 5400 Federal Plaza, Suite 4082
19                               Hammond, Indiana 46320
                                 219-852-3616
20
        Proceedings reported by CD. Transcript produced by
21      computer-aided transcription.
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USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 2 ofPage
                                                                           48    2




 1               THE COURT:    John, I invite you to come up --

 2               MR. MARTIN:    Okay.

 3               THE COURT:    -- and sit by another microphone.

 4            Yeah, that's fine.

 5               MR. MARTIN:    Thank you, Your Honor.

 6               THE COURT:    This is the case of the United States of

 7      America versus Martin J. Jonassen, 2:11-CR-163.           Today's date

 8      is October 26th of 2011.        Present for the hearing today is the
 9      United States government by Assistant United States Attorney,

10      Jill Koster.     The defendant, Mr. Jonassen, is here in person.

11      He is in the custody of the United States Marshal.           His

12      standby attorney, John Martin, is here, and pretrial services

13      officers Jerry Navarra and Nicholas Macker are here.

14            The case began by complaint, but on October 19, an

15      indictment was filed.      We are here today to have an initial

16      appearance and arraignment on the indictment and conduct a

17      detention hearing.

18            Mr. Jonassen, do you swear or affirm to tell the truth,

19      the whole truth and nothing but the truth so help you God?

20               THE DEFENDANT:     Yeah.   I go with the other Hebrew name,

21      but I know what you're saying there.

22               THE COURT:    You will tell the truth today when you

23      speak in the hearing?

24               THE DEFENDANT:     Yes.

25               THE COURT:    Mr. Jonassen, now the charge against you,
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 3 ofPage
                                                                           48    3




 1      charges against you are in an indictment.          That's somewhat of

 2      a different document.      It replaces the complaint.       The

 3      complaint started the case on September 23.          That complaint is

 4      no longer in effect, and now this October 19 indictment is in

 5      effect, and those are the charges pending against you in this

 6      case.

 7              The purposes of the initial appearance today are to

 8      inform you of the charges in the indictment, inform you of the
 9      maximum possible penalties you face if you are convicted and

10      remind you of your rights, and then we'll have an arraignment

11      where you'll enter a plea of guilty or not guilty.           The Court

12      hearing today is not a trial.        It is not to determine if you

13      are guilty or not guilty.       Do you understand the purposes of

14      the initial appearance and arraignment?

15                THE DEFENDANT:    I hear what you're saying.

16                THE COURT:   During this entire hearing today, no matter

17      what the issue is, you -- whether it's initial appearance or

18      arraignment or detention or something else, you have the right

19      to remain silent.      You don't have to say anything at all

20      during this hearing if you don't want to.          This hearing is

21      being recorded.     Anything you say during this hearing can and

22      probably would be used against you later by the government, if

23      possible.    I will ask you more questions.        You don't have to

24      answer my questions.       If you don't want to answer a question,

25      just tell me that.      And if you want to choose to speak with
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 4 ofPage
                                                                           48    4




 1      your standby attorney, Mr. Martin, during this hearing, you

 2      can.    Do you understand this information about your right to

 3      remain silent?

 4                THE DEFENDANT:    I heard what you said and comprehended.

 5                THE COURT:   Are you Martin J. Jonassen?

 6                THE DEFENDANT:    Not corporate.

 7                THE COURT:   I'll take notice of the fact that he's the

 8      same person who has appeared in other hearings in this case
 9      number.

10              What's your date of birth?

11                THE DEFENDANT:    2/21/56, natural person, common law

12      only, vast difference.

13                THE COURT:   Are you a U.S. citizen?

14                THE DEFENDANT:    No.

15                THE COURT:   Where is your citizenship?

16                THE DEFENDANT:    I'm a man of the land, born on the

17      land, natural person before the 14th Amendment citizenship was

18      granted to the slaves when they were released free and then

19      they became -- through the 14th Amendment, became U.S.

20      citizens.    And I'm, before the 14th amendment, a man of the

21      land.

22                THE COURT:   Have you put any alcohol or legal drugs or

23      illegal drugs into your body yesterday or today?

24                THE DEFENDANT:    It may sound like it, but no.

25                THE COURT:   Do you read, write and understand the
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 5 ofPage
                                                                           48    5




 1      English language?

 2               THE DEFENDANT:     Not too good, but I'm working on it.

 3               THE COURT:    Do you speak any other languages?

 4               THE DEFENDANT:     Yes.

 5               THE COURT:    What?

 6               THE DEFENDANT:     Spanish.

 7               THE COURT:    Any other languages?

 8               THE DEFENDANT:     Not fluently.
 9               THE COURT:    Is English your primary language?

10               THE DEFENDANT:     Yepper.    I mean yes, sir.     Sorry.

11               THE COURT:    Do you have any condition that might make

12      it difficult for you to understand these court proceedings and

13      to participate in them?

14               THE DEFENDANT:     I comprehend everything being said

15      basically.

16               THE COURT:    As I told you a minute ago, the charges

17      against you now are in an indictment.         In that indictment, the

18      U.S. government is saying that you have committed crimes.

19      Have you received a copy of the indictment?

20               THE DEFENDANT:     Right here in front of me.

21               THE COURT:    Have you read it?

22               THE DEFENDANT:     Yes, sir.

23               THE COURT:    Would you want me to read it to you out

24      loud right now?

25               THE DEFENDANT:     That won't be necessary.
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 6 ofPage
                                                                           48    6




 1               THE COURT:    Ms. Koster, would you please summarize or

 2      explain the two charges against him for him and tell him the

 3      maximum possible penalties he faces if he's convicted?

 4               MS. KOSTER:    Yes, Your Honor.      First, I just want to

 5      apologize to the Court and to everybody here for keeping you

 6      waiting today.     I'm sorry.

 7            Mr. Jonassen, you are charged in a two-count indictment.

 8      Count One charges you with kidnapping in violation of
 9      18 U.S.C. Section 1201.       And it alleges that beginning on or

10      about September 10, 2011, and continuing through on or about

11      September 12, 2011, in the Northern District of Indiana and

12      elsewhere, you unlawfully seized, confined, inveigled,

13      decoyed, kidnapped, abducted and carried away and held for

14      ransom, reward and otherwise Jane Doe, a 21-year-old female,

15      by willfully transporting her in interstate commerce.            For

16      that count, you face a maximum possible penalty of life in

17      prison, a fine of up to $250,000, supervised release for up to

18      five years following imprisonment and a $100 special

19      assessment.

20            Count Two charges you with obstruction of justice in

21      violation of 18, U.S.C. Section 1512(b)(1).          And it alleges

22      that between on or about September 13, 2011 and on or about

23      September 17, 2011, here in the Northern District of Indiana,

24      you attempted to intimidate, threaten, corruptly persuade or

25      engage in -- engage in misleading conduct toward Jane Doe, a
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 7 ofPage
                                                                           48    7




 1      21-year-old female, with intent to influence her testimony in

 2      an official proceeding.       For that charge, you face a maximum

 3      possible penalty of 20 years in prison, a fine of up to

 4      $250,000, supervised release for up to five years and a

 5      $100 special assessment.

 6               THE DEFENDANT:     Excuse me, Your Honor.      I don't see all

 7      that on my paper.      But when we was talking earlier, I forgot

 8      to say that I was the propia persona, special appearance only,
 9      and I immediately dismiss my standby counsel, and I am now

10      without counsel.      I have no counsel.     I am at this time

11      without any counsel at all.       And I would move the Court to a

12      continuance until I obtain further counsel.

13               THE COURT:    You cannot dismiss Mr. Martin.        He's

14      appointed by me, and he is standby counsel.          So your motion

15      for a continuance is denied.

16               THE DEFENDANT:     Well, I -- I think I have the right to

17      choose the counsel I want.       I thought I did.

18               THE COURT:    If you can pay for a counsel, you can

19      choose who you want.

20               THE DEFENDANT:     Yeah, I can.    I need to    -- I was just

21      checking out this first, you know, run-by.

22               THE COURT:    You're welcome to --

23               THE DEFENDANT:     And there's -- so I have to dismiss

24      him.

25               THE COURT:    You're welcome to hire any attorney you
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 8 ofPage
                                                                           48    8




 1      want to.    And once an attorney enters an appearance in this

 2      case saying to the Court he or she will represent you, then

 3      Mr. Martin will be dismissed from the case or terminated as

 4      your attorney --

 5               THE DEFENDANT:     But I --

 6               THE COURT:    -- as your standby attorney.

 7               THE DEFENDANT:     I object to having him be my assistance

 8      of counsel or standby counsel anymore.         I refuse him.     I
 9      dismiss him.     I can't use him.      He's recused.    He does not

10      work for me.

11               THE COURT:    Well, he's still your standby counsel.

12               THE DEFENDANT:     Against my will.     I have to object to

13      that.

14               THE COURT:    You don't have to use him, but he is still

15      your standby counsel.

16               THE DEFENDANT:     I don't see how you can force me to

17      take counsel that I don't want.

18               THE COURT:    Did you hear what Ms. Koster said about the

19      charges and the penalties?

20               THE DEFENDANT:     I don't feel to go forward until I have

21      competent counsel that I'm comfortable with.

22               THE COURT:    Have you contacted any attorneys?

23               THE DEFENDANT:     Yes, I have.

24               THE COURT:    Who?

25               THE DEFENDANT:     I don't have it written down, their
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 9 ofPage
                                                                           48    9




 1      names and all, but yes, I've made several calls.

 2               THE COURT:    Have any attorneys agreed to represent you

 3      in this case?

 4               THE DEFENDANT:     Yes.

 5               THE COURT:    Who?

 6               THE DEFENDANT:     Like I said, I don't have it written

 7      down here, but I can contact them and talk to them.            And

 8      that's why I'm so glad that I've been able to do that.
 9               THE COURT:    Well, it's hard for me to understand that

10      you've hired an attorney to represent you, but you don't even

11      know the attorney's name.

12               THE DEFENDANT:     Well, we're working through the -- I'm

13      screening them out better than I did last time.           Last time I

14      didn't screen out my friend here at all.

15               THE COURT:    Since --

16               THE DEFENDANT:     And I was not very happy at all with

17      the results.     It was backfired.     It was terrible.     And I just

18      can't go on with such bad counsel.

19               THE COURT:    You're telling me you've hired an attorney,

20      but no attorney has filed an appearance with the Court

21      notifying me that he -- he or she is going to represent you.

22               THE DEFENDANT:     That's why I was asking for a

23      continuance.     I need a little time for them to register and to

24      get done what needs to be done and work -- working through the

25      paperwork stuff.      I mean, they just can't jump onboard
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 10Page
                                                                         of 48      10




  1      instantly.

  2               THE COURT:    Who is "we"?

  3               THE DEFENDANT:     Me and the attorney or the lawyer.

  4               THE COURT:    But you don't know his or her name?

  5               THE DEFENDANT:     There's quite a few of them, but the

  6      one I'm working on is -- well, I'm kind of in a state of mind

  7      today because I was in with some bad guys in the cell there.

  8      So -- but that information, I could relay it to you as soon as
  9      I get it in my hand.      I just can't pull it off the top of my

 10      head right now.     But I --

 11               THE COURT:    Have you paid any money to any attorney to

 12      represent you in this case?

 13               THE DEFENDANT:     Yes, I've paid up some money already.

 14               THE COURT:    How much?

 15               THE DEFENDANT:     $250.

 16               THE COURT:    But you don't know the name?       You give

 17      money to people --

 18               THE DEFENDANT:     I could think of the name.

 19               THE COURT:    You --

 20               THE DEFENDANT:     If I thought real hard, I think.         Oh,

 21      that was quite a deal in there, them guys threatening to beat

 22      me up and stuff.      That's just why I was wanting to get a

 23      continuance.    And then I was wanting to ask you for the --

 24      make a motion to move to dismiss, too, because obviously my

 25      daughter didn't think I did anything wrong or she would be
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 11Page
                                                                         of 48   11




  1      here or she would have signed a statement against me or she

  2      would have filed something against me.         All this was was she

  3      wanted to be with an old man.       The very next day after this,

  4      she was riding around in his pickup truck.          And she was the

  5      one driving the car so there is no kidnapping.

  6               MS. KOSTER:    Your Honor, I'm sorry.      May I be heard as

  7      to the defendant's request for a continuance?

  8               THE COURT:    You may.
  9               MS. KOSTER:    His phone calls are being closely

 10      monitored by law enforcement.       He's not had contact with an

 11      attorney who is willing to represent him.         We are aware of one

 12      phone conversation he had with somebody who purports to be an

 13      attorney or who he refers to as an attorney, but that

 14      individual clearly told him that he would not represent him.

 15               THE DEFENDANT:     And this is only on the phone,

 16      Your Honor.    There's such a thing as mail.        It's called snail

 17      mail, and people still use it.

 18               THE COURT:    Your -- your motion to continue the hearing

 19      is denied at least as to the initial appearance and the

 20      arraignment.    We can revisit that motion when we get to the

 21      detention hearing.

 22            Did you hear what Ms. Koster said about the charges and

 23      the penalties?

 24               THE DEFENDANT:     Well, I'm kind of hesitant to move

 25      forward, but I was halfway through my motion to dismiss.
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 12Page
                                                                         of 48   12




  1      Neither one of us are corporate citizens.         We're both natural

  2      persons, common law persons.       And so, therefore, I move the

  3      Court to enter at least a -- dismiss along this case.

  4               THE COURT:    The motion is denied.      If you want to make

  5      any motions to dismiss and you're going to have an attorney,

  6      you really should do that through your attorney, although you

  7      don't have to.     Did you hear what Ms. Koster said about the

  8      charges and the possible penalties?
  9               THE DEFENDANT:     I'm just kind of afraid to go ahead.        I

 10      would like to try the detention hearing.         I feel more

 11      comfortable with that.

 12               THE COURT:    We'll address that when it's time for the

 13      detention hearing, which I think will be in a few minutes.

 14      We're proceeding now in the initial appearance and the

 15      arraignment.    Did you hear what Ms. Koster said about the

 16      charges and about the possible penalties?

 17               THE DEFENDANT:     I can proceed ahead without counsel,

 18      and yes, I did hear some -- what she said.

 19               THE COURT:    Do you understand the two charges against

 20      you?

 21               THE DEFENDANT:     I comprehend.

 22               THE COURT:    Do you understand the maximum possible

 23      penalties you face if you are convicted?

 24               THE DEFENDANT:     I comprehend.

 25               THE COURT:    Do you have any questions you want to ask
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 13Page
                                                                         of 48   13




  1      me about the charges or about the possible penalties?

  2               THE DEFENDANT:     I really can't say much, you know.

  3               THE COURT:    You're probably well aware of this, but

  4      I'll tell you again.      You have the right to be represented by

  5      a lawyer at every stage of this case.         You can make your own

  6      arrangements to hire your own private lawyer.          If you want to

  7      do that and if you have a source of money to pay for the

  8      lawyer, you're telling me that's you want to do.           If you want
  9      to be represented by a lawyer but you cannot afford one at any

 10      time now or later during this case, I will appoint a lawyer to

 11      represent you at no cost to you.        You also have the right to

 12      proceed without a lawyer and represent yourself, but that

 13      would not be a wise thing for you to do.         Do you understand

 14      you have a right to have a lawyer represent you at every stage

 15      in this case?

 16               THE DEFENDANT:     Yes, Your Honor.     Thank you.    I

 17      comprehend.

 18               THE COURT:    Next, I'm going to tell you important

 19      constitutional rights that you have in this case.           You have

 20      the right to a public trial, a speedy trial and a jury trial

 21      in the United States District Court, or you could choose to

 22      have your trial before a judge with no jury if that is what

 23      you want.    For the trial, you have the right to use the power

 24      of the Court to issue subpoenas, to help you bring evidence to

 25      court which might help you, including witnesses in your favor,
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 14Page
                                                                         of 48    14




  1      if there are any.      At trial, you have the right to see, hear,

  2      confront and cross-examine all witnesses who testify against

  3      you.   You have the right to have a lawyer help you at every

  4      stage in this case.      You have the right to require the United

  5      States government to prove the charges in court at a trial

  6      beyond a reasonable doubt.       At trial, you cannot be required

  7      to testify against yourself or even to testify at all.            If you

  8      are convicted at trial, you would have the right to appeal
  9      your convictions and sentences to the United States Court of

 10      Appeals.

 11             Do you understand those important rights that you have?

 12                THE DEFENDANT:    I comprehend it.     The one I heard most

 13      is basically I have the right not to proceed at all until I

 14      have assistance of counsel, I think.

 15                THE COURT:   I'm ready for you to enter a plea.

 16             Martin J. Jonassen, what is your plea to the charges

 17      against you in the indictment; is it guilty or is it not

 18      guilty?

 19                THE DEFENDANT:    I'm kind of at a loss here.       I really

 20      can't proceed, can I, if I have the right to counsel, and yet,

 21      I don't have counsel?

 22                THE COURT:   You can hire an attorney any time you want

 23      to, but we're going ahead with the arraignment today.            Do you

 24      plead guilty or not guilty?       You've had plenty of time to try

 25      to hire a lawyer, and it appears that you haven't made much,
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 15Page
                                                                         of 48   15




  1      if any, progress on that.       Do you plead guilty or not guilty?

  2               THE DEFENDANT:     I have to go with not guilty,

  3      Your Honor.

  4               THE COURT:    Mr. Jonassen has pled not guilty --

  5               THE DEFENDANT:     Under duress.

  6               THE COURT:    -- so this case is set for trial.        The

  7      final pretrial conference is January 6, 2012 at 9:15 in the

  8      morning in this room before me.        The jury trial is January 17,
  9      that's a Tuesday after a Monday federal holiday, at 8:00 in

 10      the morning before Judge Rudy Lozano.         I will issue a written

 11      order that contains those dates and times.          The order requires

 12      that each side confer with the other side within seven days

 13      from today regarding discovery, but if no attorney enters an

 14      appearance in this case to represent Mr. Jonassen within seven

 15      days from today, I won't hold either side to conferring with

 16      the other about discovery in that time period.          Preliminary

 17      pretrial motions must be filed, if they're filed pursuant to

 18      Federal Rule of Criminal Procedure 12(b), within 28 days from

 19      today.

 20            Mr. Jonassen, do you agree that the time you use for

 21      preparing pretrial motions pursuant to Federal Rule of

 22      Criminal Procedure 12(b), which is the time period between

 23      today and the date such motion is filed, or 28 days from today

 24      if no such motion is filed, be excluded in calculating the

 25      time period for speedy trial under the Speedy Trial Act and
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 16Page
                                                                         of 48   16




  1      that the ends of justice served by excluding this time period

  2      outweigh your best interests in a speedy trial?

  3               THE DEFENDANT:     Right.    I would need at least -- see,

  4      I'm just writing letters and all.        And I would need at least

  5      six months, Your Honor, to get -- you know, to prepare my

  6      defense.

  7               THE COURT:    If I understand you correctly, you are

  8      saying that this 28-day time period should be excluded for
  9      calculating speedy trial time?

 10               THE DEFENDANT:     Yeah.    I need as much time as possible

 11      to prepare my defense.

 12               THE COURT:    I take that as an agreement.

 13            Ms. Koster, on behalf of the public, to the extent that

 14      you can, do you agree that such time period be excluded for

 15      calculating the time period of speedy trial?

 16               MS. KOSTER:    Yes, Your Honor.

 17               THE COURT:    I find that the defendant and the United

 18      States government, on behalf of the public, have agreed that

 19      this time period be excluded in calculation of the speedy

 20      trial requirement.     I find that the ends of justice served by

 21      excluding the time period used for the defendant's

 22      consideration or preparation of pretrial motions outweigh his

 23      best interests and the public's interests in a speedy trial.

 24      I urge each side to promptly provide discovery materials to

 25      the other side to avoid a request for a continuance of the
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 17Page
                                                                         of 48   17




  1      trial date based upon discovery not being timely provided.

  2      Any plea agreements must be filed no later than five business

  3      days prior to the first day of trial.         Any extensions of that

  4      deadline must be requested by written motion filed with

  5      Judge Lozano by five business days before the first day of

  6      trial.

  7            I note for the record and declare that Mr. Martin has

  8      been present in this courtroom during the entire initial
  9      appearance today and during the entire arraignment today, and

 10      Mr. Jonassen has had an opportunity at any moment during these

 11      court proceedings today to use Mr. Martin's skills and

 12      abilities, but Mr. Jonassen has chosen not to do that.            That's

 13      Mr. Jonassen's right, but he's had an attorney here at his

 14      availability at every moment.       That continues now as we begin

 15      the detention hearing.

 16            Mr. Jonassen, if at any time you want to consult

 17      Mr. Martin about procedural matters or legal matters or for

 18      help in your court hearing today or in the future, you can do

 19      that any time you want to.       We're now at the detention hearing

 20      part of today's proceedings.       And a bit earlier, you asked me

 21      to continue today's or postpone today's court hearing, and I

 22      denied that request as to the initial appearance and the

 23      arraignment.    Now I'm coming back to consider that for this

 24      detention hearing.     You've also said today that you would like

 25      to go forward with the detention hearing.         So what is your
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 18Page
                                                                         of 48     18




  1      preference?    Do you want to have the detention hearing today

  2      or do you want it postponed?

  3                THE DEFENDANT:     That's a good -- I'm still -- you moved

  4      forward pretty quick there for me.         That statement of the

  5      guilty plea, I would like to retract that under duress.             And

  6      then could you -- could you enter a plea of some kind?            Yeah.

  7      I know you're just wanting to get one done today, one --

  8                THE COURT:   Well, you did not plead guilty today.
  9                THE DEFENDANT:     Oh, okay.    Thank you.   I didn't -- I

 10      thought somehow I entered a guilty plea.         Oh, thank you.

 11                THE COURT:   You did not.      I want to be real clear with

 12      you.

 13                THE DEFENDANT:     All right.

 14                THE COURT:   And, for the record, I hope no one

 15      misspoke.    I hope I didn't misspeak.       But your plea is not

 16      guilty.     Okay?

 17                THE DEFENDANT:     But I didn't enter it.

 18                THE COURT:   Well, you did, but --

 19                THE DEFENDANT:     But we'll say you did, can we?

 20                THE COURT:   Well, you've already entered a not guilty

 21      plea.

 22                THE DEFENDANT:     But that was under duress.     Can I

 23      retract that?

 24                THE COURT:   No.

 25                THE DEFENDANT:     I mean, if I didn't enter one, you
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 19Page
                                                                         of 48   19




  1      would have entered one for me, right?

  2               THE COURT:    Correct.

  3               THE DEFENDANT:     And it would have been not guilty?

  4               THE COURT:    Correct.

  5               THE DEFENDANT:     It would have had to have been.       So

  6      that's the way I want it to go on the record.          That's why I

  7      said under duress because I weren't using my counsel.

  8               THE COURT:    Well, it's too late for that, but you have
  9      a not guilty plea entered.        Do you want to proceed with the

 10      detention hearing today?

 11               THE DEFENDANT:     Are trial dates, basically all this

 12      stuff, you said, like, January and all, are those still, like,

 13      in effect or what?

 14               THE COURT:    Yes.

 15               THE DEFENDANT:     What about the six months I asked for?

 16               THE COURT:    If you want the trial later than

 17      January 17, 2012, then you or a lawyer, if you have a lawyer,

 18      should file a written motion with the Court to postpone, or

 19      the word is continue, that trial date, and the Court might

 20      grant that.

 21               THE DEFENDANT:     Okay.   Now, that was just a simple

 22      mistake I made there.      And I don't want that guilty plea to go

 23      down as my plea but as your plea.

 24               THE COURT:    Do you want to proceed with the detention

 25      hearing today or do you want to postpone it?
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 20Page
                                                                         of 48   20




  1               THE DEFENDANT:     Since we already got this other stuff

  2      in stone, as it were, the January 17th basically, I want to go

  3      forward with it then.

  4               THE COURT:    Okay.   Again, I remind you -- we'll go

  5      ahead with the detention hearing.        I remind you that if you

  6      want to use Mr. Martin during the hearing as your lawyer or as

  7      your standby lawyer, occasionally or through the entire

  8      hearing or through parts of the hearing or through none of the
  9      hearing, that's up to you.

 10            So, Ms. Koster, we'll proceed now with a contested

 11      detention hearing.     However, before we do that, let me explain

 12      to Mr. Jonassen what a detention hearing is about.

 13            Mr. Jonassen, the purpose of this detention hearing is

 14      for me to decide if there's any condition or combination of

 15      conditions that will reasonably assure your appearance in

 16      court as required and assure the safety of any other person

 17      and the safety of the community in general.          When I make that

 18      decision, I consider several factors.         Among the factors that

 19      I consider are these.      These are some of the factors that are

 20      included.    I consider the nature and circumstances of the

 21      charges against you in this case; also, the weight of the

 22      evidence against you; also, your history and characteristics,

 23      including criminal history, if any; also, whether you were on

 24      probation, parole, bond or other court supervision for another

 25      offense at the time that these offenses are alleged to have
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 21Page
                                                                         of 48   21




  1      occurred or now; and, also, the nature and seriousness of the

  2      danger to any person or to the community in general that would

  3      be posed by your release.       Do you understand what the

  4      detention hearing is about and what some of the factors are

  5      that I consider?

  6               THE DEFENDANT:     I comprehend those.     Thank you.

  7               THE COURT:    A finding by me that no condition or

  8      combination of conditions would reasonably assure the safety
  9      of any other person or the safety of the community in general

 10      must be supported by clear and convincing evidence.           A finding

 11      by me that no condition or combination of conditions will

 12      reasonably assure your appearance in court need only be

 13      supported by a weight of the evidence.         Do you think you

 14      understand that?

 15               THE DEFENDANT:     I think I comprehend that.

 16               THE COURT:    At this detention hearing, you have several

 17      important rights.     They include the right to be represented by

 18      a lawyer.    And you have Mr. Martin here available to you at

 19      any time as your standby attorney.        You have the right to

 20      testify on your own behalf today if you want to.           You have the

 21      right to not testify today if you don't want to.           You have the

 22      right to present witnesses to testify in your favor if there

 23      are any, the right to cross-examine any witnesses the

 24      government might call to testify today.         You have the right to

 25      present information to me about -- that's in evidence and also
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 22Page
                                                                         of 48    22




  1      argument.    And you have the right to remain silent, and I told

  2      you all about that a little earlier today in this hearing.               Do

  3      you understand these rights that you have?

  4               THE DEFENDANT:     I comprehend.    Thank you.

  5               THE COURT:    You can again, I know I've told you this

  6      before, I want to repeat it, you can speak privately with

  7      Mr. Martin during this hearing for advice if you want to.               Do

  8      you understand that?
  9               THE DEFENDANT:     I comprehend.

 10               THE COURT:    Now, Ms. Koster, you may proceed on the

 11      detention hearing and present evidence.         I will consider as

 12      evidence for purposes of today's detention hearing the

 13      contents of the original complaint and affidavit, the contents

 14      of the pretrial services report.        And, Ms. Koster, does the

 15      statutory presumption of detention apply in this case?

 16               MS. KOSTER:    May I have a moment, Your Honor?

 17               THE COURT:    Yes.   I think it does because one of the

 18      possible sentences for Count One is life imprisonment, and for

 19      the second one is 20 years, although this is not a drug case.

 20      Take your time.     There's no time pressure.

 21               MS. KOSTER:    Thank you, Judge.     It's an interesting

 22      question.    I just haven't addressed it directly.

 23               THE COURT:    Mr. Jonassen, have you received a copy of

 24      the pretrial services report?

 25               THE DEFENDANT:     No.   I don't even know what that is.
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 23Page
                                                                         of 48   23




  1      Sorry.

  2               THE COURT:    All right.    Well, Mr. Navarra is telling me

  3      you did, and Mr. Martin is telling me you did and they're

  4      pointing it to you -- pointing it out to you.

  5               THE DEFENDANT:     Oh, yes, sir.    It's right here.     Sorry.

  6               THE COURT:    Yeah, all right.     Have you looked it over?

  7               THE DEFENDANT:     Well, earlier when I still had counsel,

  8      and he said it was -- it meant I didn't have no prior history.
  9               THE COURT:    That's one thing that it means.        Do you

 10      know if there's any information in that report that's

 11      incorrect?

 12               THE DEFENDANT:     I didn't look at it.

 13               THE COURT:    It has -- it has your name, your address.

 14      It has an introduction.      It has history, residence and family

 15      ties.    It has your employment history.       That's all the first

 16      page.    And the second -- and then it talks a little bit about

 17      your finances.     And then on the second page, it talks about

 18      your health history, physical and mental, your prior criminal

 19      record and there is none found, and then a recommendation by

 20      the pretrial services office.       So as far as you know, is all

 21      of that correct?

 22               THE DEFENDANT:     I don't understand much of it in the

 23      sense it -- I like what -- I heard when I still had counsel

 24      that it shows no prior history.        And looking on here, it seems

 25      to be a good report from what I can --
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 24Page
                                                                         of 48   24




  1                THE COURT:   All right.

  2                THE DEFENDANT:    -- pick up on it.

  3                THE COURT:   You're not aware of any wrong information

  4      in there, are you?

  5                THE DEFENDANT:    Well, this is wrong because of the

  6      nature of the offense charged and this assessment of

  7      nonappearance.     Both of those are wrong.

  8                THE COURT:   Okay.    I understand that.
  9                THE DEFENDANT:    Yeah.

 10                THE COURT:   And that's -- that's what the pretrial

 11      services officer is recommending.        I expect you to disagree

 12      with that.

 13                THE DEFENDANT:    Yeah.   And then the assessment of

 14      danger, I disagree with that, too.

 15                THE COURT:   Yes.    I expect you to disagree with that.

 16      But things like your past history, those -- those are all

 17      correct, as far as you know?

 18                THE DEFENDANT:    As far as I can tell, just a quick

 19      scan --

 20                THE COURT:   Okay.

 21                THE DEFENDANT:    -- here.

 22                THE COURT:   Okay.

 23                THE DEFENDANT:    I'm just curious, Your Honor.       Did you

 24      receive my last filings?       They just came in today.      One was a

 25      statement, and the other was another motion to dismiss.
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 25Page
                                                                         of 48    25




  1               THE COURT:    I notice they have been -- they are shown

  2      as filed with the clerk's office.         I have not seen them.

  3      Actually, they -- they are shown as being filed yesterday.

  4               THE DEFENDANT:      Oh.    Well, they say some good stuff on

  5      them, both of them, actually.

  6               THE COURT:    Well, if -- you'll get a chance to

  7      basically tell me anything you want within the rules of the

  8      law today.     So you'll get a chance in a little bit to tell me
  9      why I should release you.

 10               THE DEFENDANT:      Is it -- my memory is not too good as

 11      it used to be.     Is -- would it be possible to have anybody

 12      bring those to us, that statement?         It's not in the docket.

 13               THE COURT:    Are you saying you want a copy?

 14               THE DEFENDANT:      Yes.    My memory is not as good as I'd

 15      like it to be, and I just would like to read off of that if --

 16               THE COURT:    All right.      We'll get you one in a minute.

 17               THE DEFENDANT:      Thank you.

 18               THE COURT:    Sue, could you please print document 13?

 19      Could you please print that and give it to Mr. Jonassen?            It

 20      was filed yesterday.

 21               THE DEFENDANT:      Does that include the motion to

 22      dismiss?    Is that both papers?

 23               THE COURT:    No.    So, Sue, could you also please print

 24      14, as well?

 25               THE DEFENDANT:      Thank you, Your Honor.
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 26Page
                                                                         of 48   26




  1                THE COURT:    The record will show that Mr. Jonassen now

  2      has those documents.

  3                MR. MARTIN:   It's okay.    I can get them.

  4                MS. KOSTER:   I don't think we're going to have an

  5      answer for you.

  6                THE COURT:    All right.    My quick review of Title 18,

  7      United States Code, Section 3142, again, it's a quick review,

  8      but I don't see where there's a basis for statutory
  9      presumption.    So we'll proceed on the temporary assumption

 10      that it doesn't apply.

 11                MS. KOSTER:   Does not.

 12                THE COURT:    Unless you let me know otherwise, but I

 13      don't see it looking at the statute quickly.

 14                MS. KOSTER:   Judge, there's a reference to 1201, but it

 15      specifies offenses involving minors.

 16                THE COURT:    Right.

 17                MS. KOSTER:   And that would not apply here.

 18                THE COURT:    Okay.

 19                MS. KOSTER:   So we can't find any other place where

 20      there's a statutory presumption of detention in this case.

 21                THE COURT:    Okay.    Would you like to present evidence,

 22      either formally or proffer or both?

 23                MS. KOSTER:   Yes, Your Honor, by proffer.

 24              You have the complaint affidavit that was signed in this

 25      case.    The complaint affidavit lays out what occurred.          In
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 27Page
                                                                         of 48    27




  1      this case, the victim was found running down the highway.               She

  2      was naked.     She was begging for help.      She ran into a liquor

  3      store and asked for help, and she was then physically pulled

  4      out of the liquor store by the defendant and forced to get

  5      into a vehicle, at which point, thankfully, law enforcement

  6      arrived and prevented the vehicle from leaving, although he

  7      tried -- even after law enforcement arrived, he tried to pull

  8      out of the parking lot.
  9            The victim has been interviewed and indicated and has

 10      consistently stated that she was taken against her will from

 11      her home in Missouri and she was transported to Indiana and

 12      that she was tied up at various points during the time she was

 13      transported.    In fact, at the time that law enforcement

 14      intervened, she had rope around an ankle, and rope was found

 15      in the hotel room where she had been staying with the

 16      defendant.

 17            After he was charged and arrested and imprisoned in this

 18      case, and after the Court entered an order of protection, and

 19      I'm referring to the Porter County court, Your Honor, order of

 20      protection that was entered on September 15th --

 21               THE COURT:    Which, for the record, is a State of

 22      Indiana court.

 23               MS. KOSTER:    Yes, Your Honor.     And actually, it was

 24      initially -- it looks like it was entered on the 15th, and it

 25      references the date of the 12th, but he -- that was the date
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 28Page
                                                                         of 48   28




  1      of his arrest.     Despite that court order being entered, the

  2      defendant attempted repeatedly to reach out to the victim and

  3      urge her to change her testimony and say that she hadn't, in

  4      fact, been kidnapped against her will.         He had a number of

  5      different phone conversations with members of her family.

  6      Those are laid out in the criminal complaint.          And then he

  7      spoke directly to the victim and specifically asked her to

  8      retract her statement.      She has not done that, and he has been
  9      charged as a result of that -- those attempts and that contact

 10      with obstruction of justice.       That's in the complaint and also

 11      in the indictment.     He's been indicted for that charge,

 12      obstruction of justice, due to that conduct.

 13            Since being indicted, the defendant --

 14               THE COURT:    I want to just make sure I understand.

 15      You're saying -- I was making some notes.         I'm sorry if I got

 16      lost a bit.    Are you saying he's been indicted in the

 17      Porter County system?

 18               MS. KOSTER:    No, Your Honor.     He's been indicted in --

 19      in this court --

 20               THE COURT:    For obstruction.

 21               MS. KOSTER:    -- for the obstruction of justice that

 22      relates to his phone calls made to members of his family,

 23      including the victim.

 24               THE COURT:    And that's a different case number?

 25               MS. KOSTER:    No, Judge, that's in our indictment.
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 29Page
                                                                         of 48    29




  1      That's the obstruction of justice count in Count Two.

  2               THE COURT:    All right.    Thank you.    I'm sorry.    I was

  3      confused.

  4               MS. KOSTER:    But my -- what I was referencing in the

  5      Porter County court is the protective order that was entered

  6      that remains in effect as those charges, as of today, are

  7      still pending.

  8            So he reached out to the victim despite being ordered not
  9      to have contact with her, and he has attempted to change her

 10      testimony or get her to alter her testimony, and that is what

 11      underlies that obstruction of justice count.

 12            Since being indicted for that charge of obstruction of

 13      justice, the defendant has continued to make phone calls to

 14      members of his family and has spoken directly to the victim as

 15      recently as last night, again urging her to withdraw her

 16      statement and change her claim that she was taken against her

 17      own free will and brought to Indiana.

 18            It's clear that this defendant is not going to stop

 19      trying to harass and intimidate the victim into changing her

 20      story.   And for that reason, the government's opinion is that

 21      there is no way to assure the safety of this victim.            If he's

 22      doing it on the phone calls that he knows are being recorded

 23      from jail, we can only imagine what he would do if he were

 24      released to try to get this girl, the victim in this case, to

 25      change her -- her testimony.
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 30Page
                                                                         of 48   30




  1            Also, I think that this man is a danger to the community,

  2      a very serious danger to the community.         He has been known in

  3      the past to possess weapons.       In fact, there are reports to

  4      law enforcement of him firing BB guns at his own children as a

  5      form of punishment, and he has engaged in potentially deadly

  6      behavior in the past with respect to his children.           Law

  7      enforcement is aware of the fact that his oldest daughter was

  8      killed in a car accident that the defendant has made
  9      statements to family members indicating he got into on

 10      purpose.    He purposely got into a car accident that resulted

 11      in the death of his own daughter.        And that was --

 12               THE DEFENDANT:     Objection.

 13               THE COURT:    What's the objection?

 14               THE DEFENDANT:     She's leading with all kinds of wild

 15      stories that aren't true.

 16               THE COURT:    Well, there's no witness that she's

 17      leading.    The objection is overruled.

 18            Go ahead, Ms. Koster.

 19               MS. KOSTER:    Your Honor, the -- law enforcement is

 20      aware that the defendant at one point was upset with his wife

 21      because she had left him and she had taken his children.            And

 22      he was able to, uninvited, come into her house, the house

 23      where she was located, and take his oldest daughter with him.

 24      Thereafter, he tried to get his wife to return home.           When she

 25      refused to return home, she said that the only reason she
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 31Page
                                                                         of 48       31




  1      would do that is if there were an emergency of some kind.               A

  2      few days later, the defendant got into a car accident which

  3      resulted in the death of his daughter, and then he informed

  4      his wife there's been an emergency, will you come home now.

  5      And as I said, he's made statements to members of his family

  6      indicating that that car accident was the result of

  7      intentional conduct.      And I've reviewed the police reports

  8      relating to that car accident, and it's clear from the
  9      statement of the other driver and the other passengers that

 10      were in the other car that Mr. Jonassen struck that he was

 11      driving down the center of the highway.         And when the other

 12      driver came up to a crest in the road, he saw Mr. Jonassen,

 13      attempted to swerve away, and Mr. Jonassen and the other

 14      driver both swerved into the lane that Mr. Jonassen should

 15      have been driving in, and that's where they collided.            And

 16      that accident resulted in the death, like I said, of his

 17      daughter.

 18            So this man is clearly a danger to the community and very

 19      much a danger to the victim in this case.         And we believe that

 20      there's no condition or combination of conditions that will

 21      keep him and the community and the victim that will -- I'm

 22      sorry -- assure their safety.

 23            In addition, we have serious concerns about this

 24      defendant fleeing the jurisdiction.        He is known to have taken

 25      up residence, whether he actually owns the property or not is
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 32Page
                                                                         of 48   32




  1      another question, in multiple states.         He, as Your Honor has

  2      seen, does not consider himself to be a citizen of the

  3      United States or subject to the laws of the United States.

  4      And all of these things --

  5                THE DEFENDANT:    Objection.

  6                THE COURT:    What's the objection?

  7                THE DEFENDANT:    I understand common law, and I'm very

  8      well in agreeance with it.
  9                THE COURT:    Go ahead, Ms. Koster.

 10                MS. KOSTER:    All of these things, Your Honor, we

 11      believe culminate to suggest that there is no way to

 12      reasonably assure this defendant's appearance in court in the

 13      future.

 14                THE COURT:    Thank you.

 15            Now, Mr. Jonassen, you may present evidence on the issue

 16      of detention if you want to.         If there are any witnesses here

 17      you would like to call and ask questions to have me hear their

 18      answers, you can do that.       If you want to testify yourself,

 19      you can do that.       If you testify, you do still remain under

 20      oath to tell the truth that we started the hearing with.            But

 21      I want to warn you that if you testify at this point in this

 22      hearing or otherwise say something, again, as I told you

 23      earlier, this hearing is being recorded.         Anything you say

 24      during this hearing can and probably would be used against you

 25      later by the government, if possible, and you do have the
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 33Page
                                                                         of 48   33




  1      right to remain silent and not say anything at all or be very

  2      careful about what you say at the hearing.

  3            Do you have any witnesses you would like to call?

  4               THE DEFENDANT:       Lots of them, but --

  5               THE COURT:    Are they here?

  6               THE DEFENDANT:       No.

  7               THE COURT:    Have you subpoenaed them?

  8               THE DEFENDANT:       No.
  9               THE COURT:    Would you like to testify?

 10               THE DEFENDANT:       Yes.

 11               THE COURT:    That's your choice.      Keep in mind my

 12      warning I gave you.      And if you want to use the services of

 13      Mr. Martin at any moment you want to, you may.

 14               THE DEFENDANT:       Yes.   I'm just kind of being the nice

 15      guy today, in my viewpoint, because I don't even believe --

 16      like we said earlier, I'm a natural person.          I don't believe

 17      I'm under corporate jurisdiction.         I believe that flag has a

 18      yellow fringe around it, which is British admiralty rule, but

 19      we won't go into all that so I'm just going along with y'all

 20      today.   And I don't have counsel that I choose.         I don't have

 21      counsel at all, in my viewpoint.         So I'm -- I'm just being a

 22      nice guy today, in my viewpoint.         And I was wanting the court

 23      docket of actions.     Did you -- did anybody have one of those?

 24      It's right here?      Yeah.    Sorry about that.

 25               UNIDENTIFIED SPEAKER:       (Inaudible).
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 34Page
                                                                         of 48    34




  1               THE DEFENDANT:     Well, I don't want to -- whatever.

  2      I'll just look here.      Yes, Your Honor.     A long time ago, I

  3      made a request to the prosecutor to enter in -- or the Court

  4      did actually, I asked the Court to, to enter into evidence

  5      proof of jurisdiction over being a natural person.           It can't

  6      be done, and it's not here.       But we will -- so basically

  7      there's nothing here, in a sense, but we will go forward just

  8      to be the nice guy.
  9            I have no prior record.      I have never been in jail.       I am

 10      not a flight risk, and I will appear for all court dates.               And

 11      as far as digging up all them wild stories about me wanting to

 12      kill my daughter that I love, that's just plain nasty.            That's

 13      why I objected.     And there's all these other farfetched

 14      stories.    And so I'm very (indiscernible) affected if my

 15      daughter had something against me, and obviously she don't,

 16      but if she did, she would have signed a statement.           She would

 17      have filed something against me or she would have been here

 18      today.   And so she knows I didn't do nothing wrong, and I know

 19      I didn't do nothing wrong.       She was driving the car, and I

 20      refused to take her to an old man that she wanted to see.               So

 21      she bailed, basically, and it worked.         And I will go ahead and

 22      go along with this letter because, like I say, my memory is

 23      not what it used to be.

 24            She asked me to take her back to where her 28-year-old

 25      boyfriend asked her to take a ride with him on his Vulcan
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 35Page
                                                                         of 48     35




  1      motorcycle.    So my daughter was driving prior to the motel,

  2      and she even got stopped by police about taillights not

  3      working.     No kidnapping possible.     Since she has been living

  4      with me all summer long in my house under my care, of course I

  5      beat her up every day, right?       All summer long she stayed with

  6      me, with me providing everything, food, clothes, water,

  7      electric, treats being whatever she wanted, shelter.           I am --

  8      that does make me her legal guardian.         And she likes me.       I
  9      like her.    We've had little Jerry Springer-type disagreements

 10      before.     I'm sure everybody in here has had a disagreement

 11      with one of their loved ones.       And that's all this is, is a

 12      domestic disagreement.

 13            And then from the motel, like I said earlier, I refused

 14      to change plans over someone 31 years her senior.           They call

 15      'em sugar daddies and cradle robbers.         Since she was anything

 16      but kidnapped or confined, she decided to go to the old man,

 17      as the saying goes, over my dead body.         And that's --

 18      incidentally, that is what happened.         I almost did get shot,

 19      and I still have a loss of feeling right here.          I won't go

 20      into the details of that.       And what we got is a pretty

 21      21-year-old virgin in a high crime, cold case homicide area

 22      really did make a scene to accomplish end results.           And it

 23      worked.     She was, this is a fact, joyriding.       The very next

 24      day she was riding around with this old man in a pickup truck.

 25      It's a nice pickup truck.       It's a brand new one.      This is a
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 36Page
                                                                         of 48    36




  1      documented fact.

  2              And I know -- I have not contacted her, but I know that

  3      she's forgiven me.     I can't say directly or indirectly.         But

  4      we could say a drop or something.        I do know, as -- as our

  5      little Jerry Springer-type disagreement that she's forgiven

  6      me.     I've forgiven her.   We're friends.     I would not want to

  7      get in the middle of two friends and try to pit them against

  8      each other.    It's just weird.
  9              But, anyway, back where we was again here, anything else

 10      is simply, as I said before, tainted hearsay.          And it is

 11      tainted.    I already proved that on the record.        It's got all

 12      kinds of mess-ups in it.      It's an alleged story.       And anything

 13      else should be conjecture and embellishment, and it must be

 14      stricken.    Any legal guardian/parent in their right mind would

 15      try to prevent harm to an unstable runaway child under their

 16      care, deliberately making a scene over a boyfriend in a high

 17      crime, rape, homicide area.       I'm sure if you had a loved one

 18      under your care and you was the guardian of them, if they went

 19      through a fit over a boyfriend in an area like this, which

 20      this is, I've been seeing them cards, hundreds on each card,

 21      there's a missing person and a dead person.          And it's just

 22      anybody in their right mind would not leave one of their loved

 23      ones that they're the guardian over run around like that in

 24      that area.    There got to be something dreadfully wrong with

 25      them.
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 37Page
                                                                         of 48   37




  1              Obviously my daughter didn't think I did anything wrong

  2      or she would have signed a statement or filed against me, as I

  3      said earlier, or she would have been here.          This is simply a

  4      domestic disagreement.      What the tainted so-called testimony

  5      says is a virgin dismissing any injuries as nothing, which I

  6      did read some of that story, and I picked out some parts that

  7      were true, dismissing any injuries as nothing.          Injuries were

  8      prior to September 10th, and -- oh, there was something else
  9      down there, but like I say, my memory ain't what it used to

 10      be.     She's seen her friends getting married at 18.        She's 21.

 11      That would get to you to even take an old man, and that's

 12      fine.    That's not my business, as it were, and she knows that

 13      I am willing to release the guardianship of her and let her do

 14      her own thing, you know, flutter like a butterfly.           But this

 15      incident we're talking about specifically was a virgin on the

 16      prowl.    And that is one more thing off of that little

 17      fairytale like she was telling that proved she was a virgin

 18      so they don't be trying to point me out as a -- a daughter

 19      slayer.    And this is the facts.      She lived with me all summer,

 20      and we got along fine, and that's just the way it is.            There's

 21      no problem there.

 22              I get along fine with all the children.       And to make up

 23      the story about trying to kill my oldest daughter for ulterior

 24      motives is just sick, in my viewpoint.         And I do conversate --

 25      converse with the family.       And I guess that's about all I can
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 38Page
                                                                         of 48   38




  1      say.    And in this motion here, which you've seen, is basically

  2      what we said earlier, and we can just leave that sit on there,

  3      if you want to.     I really can't see where I can add much off

  4      of that, except that it does show a jurisdictional defect

  5      because that's not on the record, what I asked therefore,

  6      because there is no proof.       And it's got a bunch of stories

  7      that are alleged stories, and it's -- therefore, I prove right

  8      in the own report that it's false.        It contradicts itself in
  9      two places.    One place it's got me in the outdoors.         Another

 10      place it's got me in the bathroom.        So it's false testimony.

 11      It has to be stricken.      And then, of course, common law is if

 12      there's no injured party, movement corpus delicti, nobody is

 13      pressing charges.

 14              So I guess that's all I can say now to go along with

 15      this.    I have no prior record, never been in jail, am not a

 16      flight risk, will appear for all court dates.          If you want, I

 17      can stay away from the whole state of Missouri, whatever, you

 18      know.    I'm not trying to be anything or do anything or be a

 19      danger to society.     I think that's -- I can't even think of

 20      the right word, a slam, a big slam against me, to paint me

 21      that way.    I don't know all the words to say to defend myself,

 22      and I apologize for that.

 23                THE COURT:   Are you done?

 24                THE DEFENDANT:    Did you say dumb?

 25                THE COURT:   No, I did not.     I said are you done?
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 39Page
                                                                         of 48       39




  1                THE DEFENDANT:    Yeah, I'm sorry about that.       I don't

  2      know.    I guess I am.     I guess I need to be.     I don't know what

  3      else I can say right now.

  4                THE COURT:    Ms. Koster, anything else?

  5                MS. KOSTER:    No, Your Honor.

  6                THE COURT:    I find by clear and convincing evidence

  7      that there is no condition or combination of conditions that

  8      would reasonably assure the safety of any other person, in
  9      particular, the victim alleged in this case, or the safety of

 10      the community in general.       I also find by a preponderance of

 11      the evidence that there is no condition or combination of

 12      conditions that will reasonably assure Mr. Jonassen's

 13      appearance in court as required.        I order his detention.      He

 14      shall remain in the custody of the United States Marshal.               I

 15      will issue a written detention order.

 16              Mr. Jonassen, I urge you to keep working on hiring your

 17      own attorney if you want to.       In the meantime, just so we're

 18      very clear, Mr. Martin remains your standby attorney, and you

 19      can use him any time you want to to help you defend this case.

 20              Thank you.

 21                MR. MARTIN:    Thank you, Your Honor.

 22              (End of requested transcript.)

 23

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USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page 40Page
                                                                         of 48   40




  1                              CERTIFICATE OF REPORTER

  2            I, Kelly M. Fitzgerald, a Registered Merit Reporter and

  3      Certified Realtime Reporter, certify that the foregoing is a

  4      transcript of the CD transcribed to the best of my ability.

  5

  6      s/Kelly M. Fitzgerald                         November 30, 2011

  7      ____________________________________________________________
         Kelly M. Fitzgerald, Official Reporter                 Date
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                                                                   Page
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page       1
                                                                      41 of 48


            $               28-year-old [1] -        affidavit [3] - 22:13,    17:9, 17:23                behalf [3] - 16:13,
                           34:24                    26:24, 26:25                ARRAIGNMENT/             16:18, 21:20
                            2:11-CR-163 [2] -        affirm [1] - 2:18         DETENTION [1] - 1:7        behavior [1] - 30:6
  $100 [2] - 6:18, 7:5     1:4, 2:7                  afford [1] - 13:9          arrangements [1] -        best [3] - 16:2,
  $250 [1] - 10:15                                   afraid [1] - 12:9         13:6                      16:23, 40:4
  $250,000 [2] - 6:17,                 3             ago [2] - 5:16, 34:2       arrest [1] - 28:1         better [1] - 9:13
 7:4                                                 agree [2] - 15:20,         arrested [1] - 27:17      between [2] - 6:22,
                                                    16:14                       arrived [2] - 27:6,      15:22
                            30 [1] - 40:6
             '                                       agreeance [1] - 32:8      27:7                       beyond [1] - 14:6
                            31 [2] - 1:14, 35:14
                                                     agreed [2] - 9:2,          assessment [4] -          big [1] - 38:20
                            3142 [1] - 26:7
                                                    16:18                      6:19, 7:5, 24:6, 24:13     birth [1] - 4:10
  'em [1] - 35:15
                                                     agreement [1] -            assistance [2] - 8:7,     bit [4] - 17:20, 23:16,
                                       4            16:12                      14:14                     25:8, 28:16
            1                                        agreements [1] -           Assistant [1] - 2:9       body [2] - 4:23,
                            4082 [1] - 1:18         17:2                        assumption [1] -         35:17
  10 [1] - 6:10             46320 [3] - 1:11,        ahead [7] - 12:9,         26:9                       bond [1] - 20:24
  10th [1] - 37:8          1:14, 1:19               12:17, 14:23, 20:5,         assure [9] - 20:15,       born [1] - 4:16
  12 [1] - 6:11                                     30:18, 32:9, 34:21         20:16, 21:8, 21:12,        boyfriend [3] -
  12(b [2] - 15:18,                                  aided [1] - 1:21          29:21, 31:22, 32:12,      34:25, 36:16, 36:19
                                       5                                       39:8, 39:12
 15:22                                               ain't [1] - 37:9                                     brand [1] - 35:25
  1201 [2] - 6:9, 26:14                              alcohol [1] - 4:22         attempted [4] - 6:24,     bring [2] - 13:24,
  12th [1] - 27:25          5400 [2] - 1:11, 1:18    alleged [4] - 20:25,      28:2, 29:9, 31:13         25:12
  13 [2] - 6:22, 25:18                              36:12, 38:7, 39:9           attempts [1] - 28:9       British [1] - 33:18
  14 [1] - 25:24                       6             alleges [2] - 6:9, 6:21    Attorney [1] - 2:9        brought [1] - 29:17
  14th [3] - 4:17, 4:19,                             almost [1] - 35:18         attorney [22] - 2:12,     bunch [1] - 38:6
 4:20                                                alter [1] - 29:10         4:1, 7:25, 8:1, 8:4,       business [3] - 17:2,
                            6 [1] - 15:7
  1500 [1] - 1:11                                    Amendment [2] -           8:6, 9:10, 9:19, 9:20,    17:5, 37:12
  1512(b)(1) [1] - 6:21                             4:17, 4:19                 10:3, 10:11, 11:11,        butterfly [1] - 37:14
  15th [2] - 27:20,
                                       8             amendment [1] -           11:13, 12:5, 12:6,
 27:24                                              4:20                       14:22, 15:13, 17:13,                 C
  17 [3] - 6:23, 15:8,      8:00 [1] - 15:9          America [1] - 2:7         21:19, 39:17, 39:18
 19:17                                               AMERICA [1] - 1:3          attorney's [1] - 9:11
                                                                                Attorney's [1] - 1:10     calculating [3] -
  17th [1] - 20:2                      9             ankle [1] - 27:14
                                                                                                         15:24, 16:9, 16:15
  18 [4] - 6:9, 6:21,                                answer [3] - 3:24,         attorneys [2] - 8:22,
                                                                               9:2                        calculation [1] -
 26:6, 37:10                                        26:5
                            9:15 [1] - 15:7                                     availability [1] -       16:19
  19 [2] - 2:14, 3:4                                 answers [1] - 32:18
                                                                               17:14                      cannot [3] - 7:13,
                                                     anyway [1] - 36:9
            2                          A             apologize [2] - 6:5,       available [1] - 21:18    13:9, 14:6
                                                                                avoid [1] - 16:25         car [8] - 11:5, 30:8,
                                                    38:22
                                                                                aware [5] - 11:11,       30:10, 31:2, 31:6,
                            abducted [1] - 6:13      appeal [1] - 14:8
  2/21/56 [1] - 4:11                                                           13:3, 24:3, 30:7,         31:8, 31:10, 34:19
                            abilities [1] - 17:12    Appeals [1] - 14:10
  20 [2] - 7:3, 22:19                                                          30:20                      card [1] - 36:20
                            ability [1] - 40:4       appear [2] - 34:10,
  2011 [7] - 1:9, 2:8,                                                                                    cards [1] - 36:20
                            able [2] - 9:8, 30:22   38:16
                                                                                                          care [3] - 35:4,
 6:10, 6:11, 6:22, 6:23,
                            accident [6] - 30:8,     appearance [16] -                   B
 40:6                                                                                                    36:16, 36:18
                           30:10, 31:2, 31:6,       2:16, 3:7, 3:14, 3:17,
  2012 [2] - 15:7, 19:17                                                                                  careful [1] - 33:2
                           31:8, 31:16              7:8, 8:1, 9:20, 11:19,
  21 [1] - 37:10                                                                backfired [1] - 9:17      carried [1] - 6:13
                            accomplish [1] -        12:14, 15:14, 17:9,
  21-year-old [3] -                                                             bad [2] - 9:18, 10:7      case [30] - 2:6, 2:14,
                           35:22                    17:22, 20:15, 21:12,
 6:14, 7:1, 35:21                                                               bailed [1] - 34:21       3:3, 3:6, 4:8, 8:2, 8:3,
                            Act [1] - 15:25         32:12, 39:13
  219-852-3616 [1] -                                                            based [1] - 17:1         9:3, 10:12, 12:3, 13:5,
                            actions [1] - 33:23      appeared [1] - 4:8
 1:19                                                                           basis [1] - 26:8         13:10, 13:15, 13:19,
                            add [1] - 38:3           apply [3] - 22:15,
  219-937-5500 [1] -                                                            bathroom [1] - 38:10     14:4, 15:6, 15:14,
                            addition [1] - 31:23    26:10, 26:17
 1:12                                                                           BB [1] - 30:4            20:21, 22:15, 22:19,
                            address [2] - 12:12,     appoint [1] - 13:10
  219-9378020 [1] -                                                             beat [2] - 10:21, 35:5   26:20, 26:25, 27:1,
                           23:13                     appointed [1] - 7:14
 1:15                                                                           became [2] - 4:19        27:18, 28:24, 29:24,
                            addressed [1] -          area [4] - 35:21,
  23 [1] - 3:3                                                                  BEFORE [1] - 1:8         31:19, 35:21, 39:9,
                           22:22                    36:17, 36:19, 36:24
  26 [1] - 1:9                                                                  began [1] - 2:14         39:19
                            admiralty [1] - 33:18    argument [1] - 22:1
  26th [1] - 2:8                                                                begging [1] - 27:2        CD [2] - 1:20, 40:4
                            advice [1] - 22:7        arraignment [9] -
  28 [2] - 15:18, 15:23                                                         begin [1] - 17:14         cell [1] - 10:7
                            affected [1] - 34:14    2:16, 3:10, 3:14, 3:18,
  28-day [1] - 16:8                                                             beginning [1] - 6:9       center [1] - 31:11
                                                    11:20, 12:15, 14:23,
                                                                   Page
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page       2
                                                                      42 of 48


  CERTIFICATE [1] -         common [4] - 4:11,        continue [3] - 11:18,    14:15, 14:22, 15:4,       danger [7] - 21:2,
 40:1                      12:2, 32:7, 38:11         17:21, 19:19              15:6, 16:7, 16:12,       24:14, 30:1, 30:2,
  Certified [1] - 40:3      community [8] -           continued [1] - 29:13    16:17, 18:8, 18:11,      31:18, 31:19, 38:19
  certify [1] - 40:3       20:17, 21:2, 21:9,         continues [1] - 17:14    18:14, 18:18, 18:20,      date [7] - 2:7, 4:10,
  chance [2] - 25:6,       30:1, 30:2, 31:18,         continuing [1] - 6:10    18:24, 19:2, 19:4,       15:23, 17:1, 19:19,
 25:8                      31:21, 39:10               contradicts [1] -        19:8, 19:14, 19:16,      27:25
  change [5] - 28:3,        Community [1] -          38:8                      19:24, 20:4, 21:7,        Date [1] - 40:7
 29:9, 29:16, 29:25,       1:13                       conversate [1] -         21:16, 22:5, 22:10,       dates [4] - 15:11,
 35:14                      competent [1] - 8:21     37:24                     22:17, 22:23, 23:2,      19:11, 34:10, 38:16
  changing [1] - 29:19      complaint [9] - 2:14,     conversation [1] -       23:6, 23:9, 23:13,        daughter [12] -
  characteristics [1] -    3:2, 3:3, 22:13, 26:24,   11:12                     24:1, 24:3, 24:8,        10:25, 30:7, 30:11,
 20:22                     26:25, 28:6, 28:10         conversations [1] -      24:10, 24:15, 24:20,     30:23, 31:3, 31:17,
  charge [4] - 2:25,        comprehend [9] -         28:5                      24:22, 25:1, 25:6,       34:12, 34:15, 35:1,
 7:2, 28:11, 29:12         5:14, 12:21, 12:24,        converse [1] - 37:25     25:13, 25:16, 25:18,     37:1, 37:18, 37:23
  charged [4] - 6:7,       13:17, 14:12, 21:6,        convicted [4] - 3:9,     25:23, 26:1, 26:6,        days [7] - 15:12,
 24:6, 27:17, 28:9         21:15, 22:4, 22:9         6:3, 12:23, 14:8          26:12, 26:16, 26:18,     15:15, 15:18, 15:23,
  charges [18] - 3:1,       comprehended [1] -        convictions [1] -        26:21, 27:21, 28:14,     17:3, 17:5, 31:2
 3:5, 3:8, 5:16, 6:2,      4:4                       14:9                      28:20, 28:24, 29:2,       dead [2] - 35:17,
 6:8, 6:20, 8:19, 11:22,    computer [1] - 1:21       convincing [2] -         30:13, 30:16, 32:6,      36:21
 12:8, 12:16, 12:19,        computer-aided [1] -     21:10, 39:6               32:9, 32:14, 33:5,        deadline [1] - 17:4
 13:1, 14:5, 14:16,        1:21                       copy [3] - 5:19,         33:7, 33:9, 33:11,        deadly [1] - 30:5
 20:21, 29:6, 38:13         concerns [1] - 31:23     22:23, 25:13              38:23, 38:25, 39:4,       deal [1] - 10:21
  checking [1] - 7:21       condition [7] - 5:11,                              39:6                      death [3] - 30:11,
                                                      corporate [3] - 4:6,
  CHERRY [1] - 1:8         20:14, 21:7, 21:11,       12:1, 33:17                court [19] - 5:12,      31:3, 31:16
  child [1] - 36:15        31:20, 39:7, 39:11                                  13:25, 14:5, 17:11,       decide [1] - 20:14
                                                      corpus [1] - 38:12
  children [4] - 30:4,      conditions [6] -                                   17:18, 17:21, 20:16,      decided [1] - 35:16
                                                      correct [4] - 19:2,
 30:6, 30:21, 37:22        20:15, 21:8, 21:11,                                 20:24, 21:12, 27:19,      decision [1] - 20:18
                                                     19:4, 23:21, 24:17
                           31:20, 39:7, 39:12                                  27:22, 28:1, 28:19,
  choice [1] - 33:11                                  correctly [1] - 16:7                               declare [1] - 17:7
                            conduct [4] - 2:16,                                29:5, 32:12, 33:22,
  choose [5] - 3:25,                                  corruptly [1] - 6:24                               decoyed [1] - 6:13
                           6:25, 28:12, 31:7                                   34:10, 38:16, 39:13
 7:17, 7:19, 13:21,                                   cost [1] - 13:11                                   defect [1] - 38:4
                            confer [1] - 15:12                                  Court [17] - 1:17,
 33:20                                                counsel [24] - 7:9,                                defend [2] - 38:21,
                            conference [1] - 15:7                              1:17, 1:18, 3:11, 6:5,
  chosen [1] - 17:12                                 7:10, 7:11, 7:12, 7:14,                            39:19
                                                                               7:11, 8:2, 9:20, 12:3,
  circumstances [1] -       conferring [1] -         7:17, 7:18, 8:8, 8:11,                              Defendant [1] - 1:6
                                                                               13:21, 13:24, 14:9,
 20:20                     15:15                     8:15, 8:17, 8:21, 9:18,                             defendant [12] -
                                                                               19:18, 19:19, 27:18,
  citizen [2] - 4:13,       confined [2] - 6:12,     12:17, 14:14, 14:20,                               2:10, 16:17, 27:4,
                                                                               34:3, 34:4
 32:2                      35:16                     14:21, 19:7, 23:7,                                 27:16, 28:2, 28:13,
                                                                                courtroom [1] - 17:8
  citizens [2] - 4:20,      confront [1] - 14:2      23:23, 33:20, 33:21                                29:13, 29:18, 30:8,
                                                                                cradle [1] - 35:15
 12:1                       confused [1] - 29:3       count [4] - 6:7, 6:16,                            30:20, 31:2, 31:24
                                                                                crest [1] - 31:12
  citizenship [2] -         conjecture [1] -         29:1, 29:11                                         DEFENDANT [102] -
                                                                                crime [2] - 35:21,
 4:15, 4:17                36:13                      Count [4] - 6:8, 6:20,                            1:13, 2:20, 2:24, 3:15,
                                                                               36:17
  claim [1] - 29:16         consider [7] - 17:23,    22:18, 29:1                                        4:4, 4:6, 4:11, 4:14,
                                                                                crimes [1] - 5:18
  clear [6] - 18:11,       20:18, 20:19, 20:20,       County [3] - 27:19,                               4:16, 4:24, 5:2, 5:4,
                                                                                Criminal [2] - 15:18,
 21:10, 29:18, 31:8,       21:5, 22:11, 32:2         28:17, 29:5                                        5:6, 5:8, 5:10, 5:14,
                                                                               15:22                    5:20, 5:22, 5:25, 7:6,
 39:6, 39:18                consideration [1] -       course [2] - 35:4,
                           16:22                                                criminal [3] - 20:23,   7:16, 7:20, 7:23, 8:5,
  clearly [2] - 11:14,                               38:11
                                                                               23:18, 28:6              8:7, 8:12, 8:16, 8:20,
 31:18                      consistently [1] -        COURT [119] - 1:1,
                           27:10                                                cross [2] - 14:2,       8:23, 8:25, 9:4, 9:6,
  clerk's [1] - 25:2                                 2:1, 2:3, 2:6, 2:22,
                                                                               21:23                    9:12, 9:16, 9:22, 10:3,
  closely [1] - 11:9        constitutional [1] -     2:25, 3:16, 4:5, 4:7,
                           13:19                                                cross-examine [2] -     10:5, 10:13, 10:15,
  clothes [1] - 35:6                                 4:13, 4:15, 4:22, 4:25,
                                                                               14:2, 21:23              10:18, 10:20, 11:15,
  Code [1] - 26:7           consult [1] - 17:16      5:3, 5:5, 5:7, 5:9,
                                                     5:11, 5:16, 5:21, 5:23,    CRR [1] - 1:17          11:24, 12:9, 12:17,
  cold [1] - 35:21          contact [4] - 9:7,
                           11:10, 28:9, 29:9         6:1, 7:13, 7:18, 7:22,     culminate [1] - 32:11   12:21, 12:24, 13:2,
  collided [1] - 31:15
                            contacted [2] - 8:22,    7:25, 8:6, 8:11, 8:14,     curious [1] - 24:23     13:16, 14:12, 14:19,
  combination [6] -
                           36:2                      8:18, 8:22, 8:24, 9:2,     custody [2] - 2:11,     15:2, 15:5, 16:3,
 20:14, 21:8, 21:11,
                            contains [1] - 15:11     9:5, 9:9, 9:15, 9:19,     39:14                    16:10, 18:3, 18:9,
 31:20, 39:7, 39:11
  comfortable [2] -         contents [2] - 22:13     10:2, 10:4, 10:11,                                 18:13, 18:17, 18:19,
 8:21, 12:11                contested [1] - 20:10    10:14, 10:16, 10:19,                D              18:22, 18:25, 19:3,
  coming [1] - 17:23        continuance [6] -        11:8, 11:18, 12:4,                                 19:5, 19:11, 19:15,
  commerce [1] - 6:15      7:12, 7:15, 9:23,         12:12, 12:19, 12:22,                               19:21, 20:1, 21:6,
                                                                                daddies [1] - 35:15
                           10:23, 11:7, 16:25        12:25, 13:3, 13:18,                                21:15, 22:4, 22:9,
  committed [1] - 5:18
                                                                   Page
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page       3
                                                                      43 of 48


 22:25, 23:5, 23:7,        6:11, 6:23, 13:21         30:19                      15:21                        glad [1] - 9:8
 23:12, 23:22, 24:2,        DIVISION [1] - 1:2        engage [2] - 6:25          federal [1] - 15:9          God [1] - 2:19
 24:5, 24:9, 24:13,         docket [2] - 25:12,       engaged [1] - 30:5         female [2] - 6:14, 7:1      GOVERNMENT [1] -
 24:18, 24:21, 24:23,      33:23                      English [2] - 5:1, 5:9     few [3] - 10:5, 12:13,     1:10
 25:4, 25:10, 25:14,        document [2] - 3:2,       enter [8] - 3:11, 12:3,   31:2                         government [7] -
 25:17, 25:21, 25:25,      25:18                     14:15, 18:6, 18:17,         file [1] - 19:18           2:9, 3:22, 5:18, 14:5,
 30:12, 30:14, 32:5,        documented [1] -         18:25, 34:3, 34:4           filed [14] - 2:15, 9:20,   16:18, 21:24, 32:25
 32:7, 33:4, 33:6, 33:8,   36:1                       entered [9] - 18:10,      11:2, 15:17, 15:23,          government's [1] -
 33:10, 33:14, 34:1,        documents [1] - 26:2     18:20, 19:1, 19:9,         15:24, 17:2, 17:4,          29:20
 38:24, 39:1                Doe [2] - 6:14, 6:25     27:18, 27:20, 27:24,       25:2, 25:3, 25:20,           grant [1] - 19:20
  defendant's [3] -         domestic [2] - 35:12,    28:1, 29:5                 34:17, 37:2                  granted [1] - 4:18
 11:7, 16:21, 32:12        37:4                       enters [2] - 8:1,          filings [1] - 24:24         guardian [3] - 35:8,
  Defenders [1] - 1:13      done [7] - 9:24, 18:7,   15:13                       final [1] - 15:7           36:18, 36:23
  defense [2] - 16:6,      28:8, 34:6, 38:23,         entire [4] - 3:16,         finances [1] - 23:17        guardian/parent [1] -
 16:11                     38:25                     17:8, 17:9, 20:7            fine [6] - 2:4, 6:17,      36:14
  deliberately [1] -        doubt [1] - 14:6          evidence [12] -           7:3, 37:12, 37:20,           guardianship [1] -
 36:16                      down [6] - 8:25, 9:7,    13:24, 20:22, 21:10,       37:22                       37:13
  delicti [1] - 38:12      19:23, 27:1, 31:11,       21:13, 21:25, 22:11,        firing [1] - 30:4           guess [4] - 37:25,
  denied [4] - 7:15,       37:9                      22:12, 26:21, 32:15,        first [5] - 6:4, 7:21,     38:14, 39:2
 11:19, 12:4, 17:22         dreadfully [1] - 36:24   34:4, 39:6, 39:11          17:3, 17:5, 23:15            guilty [20] - 3:11,
  despite [2] - 28:1,       driver [3] - 31:9,        examine [2] - 14:2,        fit [1] - 36:19            3:13, 14:17, 14:18,
 29:8                      31:12, 31:14              21:23                       Fitzgerald [4] - 1:17,     14:24, 15:1, 15:2,
  details [1] - 35:20       driving [5] - 11:5,       except [1] - 38:4         40:2, 40:6, 40:7            15:4, 18:5, 18:8,
  detention [25] - 2:17,   31:11, 31:15, 34:19,       excluded [4] - 15:24,      five [4] - 6:18, 7:4,      18:10, 18:16, 18:20,
 3:18, 11:21, 12:10,       35:1                      16:8, 16:14, 16:19         17:2, 17:5                  19:3, 19:9, 19:22
 12:13, 17:15, 17:19,       drop [1] - 36:4           excluding [2] - 16:1,      flag [1] - 33:17            guns [1] - 30:4
 17:24, 17:25, 18:1,        drug [1] - 22:19         16:21                       fleeing [1] - 31:24         guy [3] - 33:15,
 19:10, 19:24, 20:5,        drugs [2] - 4:22, 4:23    excuse [1] - 7:6           flight [2] - 34:10,        33:22, 34:8
 20:11, 20:12, 20:13,       due [1] - 28:12           expect [2] - 24:11,       38:16                        guys [2] - 10:7,
 21:4, 21:16, 22:11,        dumb [1] - 38:24         24:15                       fluently [1] - 5:8         10:21
 22:12, 22:15, 26:20,       duress [4] - 15:5,        explain [2] - 6:2,         flutter [1] - 37:14
 32:16, 39:13, 39:15       18:5, 18:22, 19:7         20:11                       following [1] - 6:18                  H
  determine [1] - 3:12      during [12] - 3:16,       extensions [1] - 17:3      food [1] - 35:6
  difference [1] - 4:12    3:20, 3:21, 4:1, 13:10,    extent [1] - 16:13         FOR [2] - 1:10, 1:13
  different [3] - 3:2,                                                                                       halfway [1] - 11:25
                           17:8, 17:9, 17:10,                                    force [1] - 8:16
 28:5, 28:24                                                                                                 HAMMOND [1] - 1:2
                           20:6, 22:7, 27:12,                   F                forced [1] - 27:4
                                                                                                             Hammond [3] - 1:11,
  difficult [1] - 5:12     32:24                                                 foregoing [1] - 40:3
  digging [1] - 34:11                                                                                       1:14, 1:19
                                                                                 forgiven [3] - 36:3,
  directly [4] - 22:22,                               face [4] - 3:9, 6:16,                                  hand [1] - 10:9
                                      E              7:2, 12:23
                                                                                36:5, 36:6
                                                                                                             happy [1] - 9:16
 28:7, 29:14, 36:3                                                               forgot [1] - 7:7
  disagree [3] - 24:11,                               faces [1] - 6:3                                        harass [1] - 29:19
                                                                                 form [1] - 30:5
 24:14, 24:15               effect [4] - 3:4, 3:5,    fact [7] - 4:7, 27:13,                                 hard [2] - 9:9, 10:20
                                                                                 formally [1] - 26:22
  disagreement [4] -       19:13, 29:6               28:4, 30:3, 30:7,                                       harm [1] - 36:15
                                                                                 forward [6] - 8:20,
 35:10, 35:12, 36:5,        either [2] - 15:15,      35:23, 36:1                                             head [1] - 10:10
                                                                                11:25, 17:25, 18:4,
 37:4                      26:22                      factors [4] - 20:18,                                   health [1] - 23:18
                                                                                20:3, 34:7
  disagreements [1] -       electric [1] - 35:7      20:19, 21:4                                             hear [8] - 3:15, 8:18,
                                                                                 free [2] - 4:18, 29:17
 35:9                       elsewhere [1] - 6:12      facts [1] - 37:19                                     11:22, 12:7, 12:15,
                                                                                 friend [1] - 9:14
  discovery [4] -           embellishment [1] -       fairytale [1] - 37:17                                 12:18, 14:1, 32:17
                                                                                 friends [3] - 36:6,
 15:13, 15:16, 16:24,      36:13                      false [2] - 38:8, 38:10                                heard [4] - 4:4, 11:6,
                                                                                36:7, 37:10
 17:1                       emergency [2] -           family [7] - 23:14,                                   14:12, 23:23
                                                                                 fringe [1] - 33:18
  dismiss [10] - 7:9,      31:1, 31:4                28:5, 28:22, 29:14,                                     HEARING [1] - 1:7
                                                                                 front [1] - 5:20
 7:13, 7:23, 8:9, 10:24,    employment [1] -         30:9, 31:5, 37:25                                       hearing [41] - 2:8,
                                                                                 future [2] - 17:18,
 11:25, 12:3, 12:5,        23:15                      far [4] - 23:20, 24:17,                               2:17, 2:23, 3:12, 3:16,
                                                                                32:13
 24:25, 25:22               end [1] - 35:22          24:18, 34:11                                           3:20, 3:21, 4:1, 11:18,
  dismissed [1] - 8:3       End [1] - 39:22           farfetched [1] -                                      11:21, 12:10, 12:13,
  dismissing [2] -          ends [2] - 16:1,         34:13                                 G                17:15, 17:18, 17:19,
 37:5, 37:7                16:20                      favor [2] - 13:25,                                    17:21, 17:24, 17:25,
  DISTRICT [2] - 1:1,       enforcement [7] -        21:22                       general [4] - 20:17,       18:1, 19:10, 19:25,
 1:1                       11:10, 27:5, 27:7,         Federal [5] - 1:11,       21:2, 21:9, 39:10           20:5, 20:6, 20:8, 20:9,
  District [4] - 1:18,     27:13, 30:4, 30:7,        1:13, 1:18, 15:18,          girl [1] - 29:24           20:11, 20:12, 20:13,
                                                                   Page
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page       4
                                                                      44 of 48


 21:4, 21:16, 22:2,        6:18, 22:18                  invite [1] - 2:1           kidnapping [3] - 6:8,      left [1] - 30:21
 22:7, 22:11, 22:12,        IN [1] - 1:1                involving [1] - 26:15     11:5, 35:3                  legal [4] - 4:22,
 32:20, 32:22, 32:23,       Inaudible) [1] - 33:25      issue [5] - 3:17,          kill [2] - 34:12, 37:23   17:17, 35:8, 36:14
 32:24, 33:2                Inc [1] - 1:13             13:24, 15:10, 32:15,        killed [1] - 30:8          letter [1] - 34:22
  hearings [1] - 4:8        incident [1] - 37:15       39:15                       kind [7] - 10:6,           letters [1] - 16:4
  hearsay [1] - 36:10       incidentally [1] -          itself [1] - 38:8         11:24, 12:9, 14:19,         life [2] - 6:16, 22:18
  Hebrew [1] - 2:20        35:18                                                  18:6, 31:1, 33:14           liquor [2] - 27:2, 27:4
  held [1] - 6:13           include [2] - 21:17,                  J                kinds [2] - 30:14,         lived [1] - 37:19
  help [8] - 2:19,         25:21                                                  36:12                       living [1] - 35:3
 13:24, 13:25, 14:3,        included [1] - 20:20                                   known [2] - 30:2,          located [1] - 30:23
 17:18, 27:2, 27:3,                                     jail [3] - 29:23, 34:9,   31:24
                            including [3] - 13:25,                                                            look [2] - 23:12, 34:2
 39:19                                                 38:15
                           20:23, 28:23                                            knows [3] - 29:22,         looked [1] - 23:6
  hesitant [1] - 11:24                                  Jane [2] - 6:14, 6:25     34:18, 37:12
                            incorrect [1] - 23:11                                                             looking [2] - 23:24,
  high [2] - 35:21,                                     January [5] - 15:7,        KOSTER [20] - 6:4,
                            INDIANA [1] - 1:1                                                                26:13
 36:16                                                 15:8, 19:12, 19:17,        11:6, 11:9, 16:16,
                            Indiana [8] - 1:11,                                                               looks [1] - 27:24
  highway [2] - 27:1,                                  20:2                       22:16, 22:21, 26:4,
                           1:14, 1:19, 6:11, 6:23,                                                            loss [2] - 14:19,
 31:11                                                  Jerry [3] - 2:13, 35:9,   26:11, 26:14, 26:17,
                           27:11, 27:22, 29:17                                                               35:19
  himself [1] - 32:2                                   36:5                       26:19, 26:23, 27:23,
                            indicated [1] - 27:9                                                              lost [1] - 28:16
  hire [4] - 7:25, 13:6,                                Jill [2] - 1:10, 2:10     28:18, 28:21, 28:25,
                            indicating [2] - 30:9,                                                            loud [1] - 5:24
 14:22, 14:25                                           John [3] - 1:13, 2:1,     29:4, 30:19, 32:10,
                           31:6                                                                               love [1] - 34:12
  hired [2] - 9:10, 9:19                               2:12                       39:5
                            indicted [5] - 28:11,                                                             loved [3] - 35:11,
  hiring [1] - 39:16                                    Jonassen [24] - 2:7,       Koster [14] - 1:10,
                           28:13, 28:16, 28:18,                                                              36:17, 36:22
  history [8] - 20:22,                                 2:10, 2:18, 2:25, 4:5,     2:10, 6:1, 8:18, 11:22,
                           29:12                                                                              Lozano [2] - 15:10,
                                                       6:7, 14:16, 15:4,          12:7, 12:15, 16:13,
 20:23, 23:8, 23:14,        indictment [12] -                                                                17:5
                                                       15:14, 15:20, 17:10,       20:10, 22:10, 22:14,
 23:15, 23:18, 23:24,      2:15, 2:16, 3:1, 3:4,
                                                       17:12, 17:16, 20:12,       30:18, 32:9, 39:4
 24:16                     3:8, 5:17, 5:19, 6:7,
                                                       20:13, 22:23, 25:19,                                             M
  hold [1] - 15:15         14:17, 28:11, 28:25
                                                       26:1, 31:10, 31:12,
  holiday [1] - 15:9        indirectly [1] - 36:3
                                                       31:13, 31:14, 32:15,
                                                                                             L
  home [4] - 27:11,         indiscernible [1] -                                                               Macker [1] - 2:13
                                                       39:16                                                  MAGISTRATE [1] -
 30:24, 30:25, 31:4        34:14
                                                        JONASSEN [1] - 1:5         laid [1] - 28:6           1:8
  homicide [2] - 35:21,     individual [1] - 11:14
                                                        Jonassen's [2] -           land [3] - 4:16, 4:17,     mail [2] - 11:16,
 36:17                      influence [1] - 7:1
                                                       17:13, 39:12               4:21                       11:17
  Honor [22] - 2:5, 6:4,    inform [2] - 3:8
                                                        joyriding [1] - 35:23      lane [1] - 31:14           man [9] - 4:16, 4:20,
 7:6, 11:6, 11:16,          information [5] - 4:2,
                                                        judge [1] - 13:22          language [2] - 5:1,       11:3, 30:1, 31:18,
 13:16, 15:3, 16:5,        10:8, 21:25, 23:10,
                                                        JUDGE [1] - 1:8           5:9                        34:20, 35:16, 35:24,
 16:16, 22:16, 24:23,      24:3
                                                        Judge [5] - 15:10,         languages [2] - 5:3,      37:11
 25:25, 26:23, 27:19,       informed [1] - 31:3
                                                       17:5, 22:21, 26:14,        5:7                         married [1] - 37:10
 27:23, 28:18, 30:19,       initial [8] - 2:15, 3:7,
                                                       28:25                       last [4] - 9:13, 24:24,    Marshal [2] - 2:11,
 32:1, 32:10, 34:2,        3:14, 3:17, 11:19,
                                                        jump [1] - 9:25           29:15                      39:14
 39:5, 39:21               12:14, 17:8, 17:22
                                                        jurisdiction [3] -         late [1] - 19:8            MARTIN [5] - 1:5,
  HONORABLE [1] -           injured [1] - 38:12
                                                       31:24, 33:17, 34:5          law [12] - 4:11,          2:2, 2:5, 26:3, 39:21
 1:8                        injuries [3] - 37:5,
                                                        jurisdictional [1] -      11:10, 12:2, 25:8,          Martin [16] - 1:13,
  hope [2] - 18:14,        37:7
                                                       38:4                       27:5, 27:7, 27:13,         2:7, 2:12, 4:1, 4:5,
 18:15                      instantly [1] - 10:1
                                                        jury [3] - 13:20,         30:4, 30:6, 30:19,         7:13, 8:3, 14:16, 17:7,
  hotel [1] - 27:15         intent [1] - 7:1
                                                       13:22, 15:8                32:7, 38:11                17:17, 20:6, 21:18,
  house [3] - 30:22,        intentional [1] - 31:7
                                                        justice [9] - 6:20,        laws [1] - 32:3           22:7, 23:3, 33:13,
 35:4                       interesting [1] -
                                                       16:1, 16:20, 28:10,         lawyer [15] - 10:3,       39:18
  hundreds [1] - 36:20     22:21
                                                       28:12, 28:21, 29:1,        13:5, 13:6, 13:8, 13:9,     Martin's [1] - 17:11
                            interests [3] - 16:2,                                 13:10, 13:12, 13:14,
                                                       29:11, 29:13                                           materials [1] - 16:24
            I              16:23                                                  14:3, 14:25, 19:17,
                            interstate [1] - 6:15                                                             matter [1] - 3:16
                            intervened [1] -
                                                                  K               20:6, 20:7, 21:18           matters [2] - 17:17
  illegal [1] - 4:23                                                               lays [1] - 26:25           maximum [5] - 3:9,
                           27:14                                                   leading [2] - 30:14,
  imagine [1] - 29:23                                                                                        6:3, 6:16, 7:2, 12:22
                            interviewed [1] -           keep [3] - 31:21,         30:17
  immediately [1] - 7:9                                                                                       mean [3] - 5:10,
                           27:9                        33:11, 39:16                least [4] - 11:19,
  important [3] -                                                                                            9:25, 18:25
                            intimidate [2] - 6:24,      keeping [1] - 6:5         12:3, 16:3, 16:4
 13:18, 14:11, 21:17                                                                                          means [1] - 23:9
                           29:19                        Kelly [2] - 40:2, 40:7     leave [2] - 36:22,
  imprisoned [1] -                                                                                            meant [1] - 23:8
                            introduction [1] -          kelly [1] - 1:17          38:2
 27:17                                                                                                        meantime [1] - 39:17
                           23:14                        kidnapped [3] - 6:13,      leaving [1] - 27:6
  imprisonment [2] -                                                                                          members [5] - 28:5,
                            inveigled [1] - 6:12       28:4, 35:16
                                                                   Page
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page       5
                                                                      45 of 48


 28:22, 29:14, 30:9,      28:21, 28:25, 29:4,        object [2] - 8:7, 8:12     outdoors [1] - 38:9       picked [1] - 37:6
 31:5                     30:19, 32:10, 39:5         objected [1] - 34:13       outweigh [2] - 16:2,      pickup [3] - 11:4,
  memory [4] - 25:10,      multiple [1] - 32:1       objection [5] - 30:12,    16:22                     35:24, 35:25
 25:14, 34:22, 37:9        must [5] - 15:17,        30:13, 30:17, 32:5,         overruled [1] - 30:17     pit [1] - 36:7
  mental [1] - 23:18      17:2, 17:4, 21:10,        32:6                        own [9] - 13:5, 13:6,     place [3] - 26:19,
  Merit [1] - 40:2        36:13                      obstruction [8] -         21:20, 29:17, 30:4,       38:9, 38:10
  mess [1] - 36:12                                  6:20, 28:10, 28:12,        30:11, 37:14, 38:8,        places [1] - 38:9
  mess-ups [1] - 36:12               N              28:20, 28:21, 29:1,        39:17                      plain [1] - 34:12
  microphone [1] - 2:3                              29:11, 29:12                owns [1] - 31:25          plans [1] - 35:14
  middle [1] - 36:7                                  obtain [1] - 7:12                                    Plaza [2] - 1:11, 1:18
                           naked [1] - 27:2
  might [4] - 5:11,
                           name [6] - 2:20,
                                                     obviously [3] -                      P               plea [13] - 3:11,
 13:25, 19:19, 21:24                                10:24, 34:15, 37:1                                   14:15, 14:16, 17:2,
                          9:11, 10:4, 10:16,
  mind [4] - 10:6,                                   occasionally [1] -                                  18:5, 18:6, 18:10,
                          10:18, 23:13                                          page [2] - 23:16,
 33:11, 36:14, 36:22                                20:7                                                 18:15, 18:21, 19:9,
                           names [1] - 9:1                                     23:17
  minors [1] - 26:15                                 occurred [2] - 21:1,                                19:22, 19:23
                           nasty [1] - 34:12                                    paid [2] - 10:11,
  minute [2] - 5:16,                                26:25                                                 plead [3] - 14:24,
                           natural [5] - 4:11,                                 10:13
 25:16                                               October [3] - 2:8,                                  15:1, 18:8
                          4:17, 12:1, 33:16,                                    paint [1] - 38:20
  minutes [1] - 12:13                               2:14, 3:4                                             pled [1] - 15:4
                          34:5                                                  paper [1] - 7:7
  misleading [1] - 6:25                              OCTOBER [1] - 1:9                                    plenty [1] - 14:24
                           nature [3] - 20:20,                                  papers [1] - 25:22
  missing [1] - 36:21                                OF [4] - 1:1, 1:3, 1:7,                              point [4] - 27:5,
                          21:1, 24:6                                            paperwork [1] - 9:25
  Missouri [2] - 27:11,                             40:1                                                 30:20, 32:21, 37:18
                           Navarra [2] - 2:13,                                  parking [1] - 27:8
 38:17                                               offense [2] - 20:25,                                 pointing [2] - 23:4
                          23:2                                                  parole [1] - 20:24
  misspeak [1] - 18:15                              24:6                                                  points [1] - 27:12
                           necessary [1] - 5:25                                 part [1] - 17:20
  misspoke [1] - 18:15                               offenses [2] - 20:25,                                police [2] - 31:7,
                           need [7] - 7:20, 9:23,                               participate [1] - 5:13
  mistake [1] - 19:22                               26:15                                                35:2
                          16:3, 16:4, 16:10,                                    particular [1] - 39:9
  moment [4] - 17:10,                                Office [1] - 1:10                                    Porter [3] - 27:19,
                          21:12, 39:2                                           parts [2] - 20:8, 37:6
 17:14, 22:16, 33:13                                 office [2] - 23:20,                                 28:17, 29:5
                           needs [1] - 9:24                                     party [1] - 38:12
  Monday [1] - 15:9                                 25:2                                                  posed [1] - 21:3
                           never [2] - 34:9,                                    passengers [1] -
  money [4] - 10:11,                                 officer [1] - 24:11                                  possess [1] - 30:3
                          38:15                                                31:9
 10:13, 10:17, 13:7                                  officers [1] - 2:13                                  possible [14] - 3:9,
                           new [1] - 35:25                                      past [3] - 24:16,
  monitored [1] -                                    official [1] - 7:2                                  3:23, 6:3, 6:16, 7:3,
                           next [3] - 11:3,                                    30:3, 30:6
 11:10                                               Official [2] - 1:17,                                12:8, 12:16, 12:22,
                          13:18, 35:23                                          PAUL [1] - 1:8
  months [2] - 16:5,                                40:7                                                 13:1, 16:10, 22:18,
                           nice [4] - 33:14,                                    pay [2] - 7:18, 13:7
 19:15                                               old [5] - 11:3, 34:20,                              25:11, 32:25, 35:3
                          33:22, 34:8, 35:25                                    penalties [8] - 3:9,
  morning [2] - 15:8,                               35:16, 35:24, 37:11                                   postpone [3] - 17:21,
                           Nicholas [1] - 2:13                                 6:3, 8:19, 11:23, 12:8,
 15:10                                               oldest [3] - 30:7,                                  19:18, 19:25
                           night [1] - 29:15                                   12:16, 12:23, 13:1
  most [1] - 14:12                                  30:23, 37:23                                          postponed [1] - 18:2
                           nobody [1] - 38:12                                   penalty [2] - 6:16,
  motel [2] - 35:1,                                  onboard [1] - 9:25                                   potentially [1] - 30:5
                           nonappearance [1] -                                 7:3
 35:13                                               once [1] - 8:1                                       power [1] - 13:23
                          24:7                                                  pending [2] - 3:5,
  motion [13] - 7:14,                                one [24] - 10:6, 11:5,                               preference [1] - 18:1
                           none [2] - 20:8,                                    29:7
 10:24, 11:18, 11:20,                               11:11, 12:1, 13:9,                                    preliminary [1] -
                          23:19                                                 people [2] - 10:17,
 11:25, 12:4, 15:23,                                14:12, 18:7, 18:14,                                  15:16
                           NORTHERN [1] - 1:1                                  11:17
 15:24, 17:4, 19:18,                                18:25, 19:1, 22:17,                                   preparation [1] -
                           Northern [2] - 6:11,     22:19, 23:9, 24:24,         period [9] - 15:16,
 24:25, 25:21, 38:1                                                                                      16:22
                          6:23                      25:16, 30:20, 33:23,       15:22, 15:25, 16:1,
  motions [4] - 12:5,                                                                                     prepare [2] - 16:5,
                           note [1] - 17:7          35:11, 35:25, 36:17,       16:8, 16:14, 16:15,
 15:17, 15:21, 16:22                                                                                     16:11
                           notes [1] - 28:15        36:22, 37:16, 38:9         16:19, 16:21
  motives [1] - 37:24                                                                                     preparing [1] - 15:21
                           nothing [6] - 2:19,       One [2] - 6:8, 22:18       person [12] - 2:10,
  motorcycle [1] - 35:1                                                                                   preponderance [1] -
                          34:7, 34:18, 34:19,        ones [2] - 35:11,         4:8, 4:11, 4:17, 20:16,
  move [4] - 7:11,                                                                                       39:10
                          37:5, 37:7                36:23                      21:2, 21:9, 33:16,
 10:24, 11:24, 12:2                                                                                       present [7] - 2:8,
                           notice [2] - 4:7, 25:1    opinion [1] - 29:20       34:5, 36:21, 39:8
  moved [1] - 18:3                                                                                       17:8, 21:22, 21:25,
                           notifying [1] - 9:21      opportunity [1] -          persona [1] - 7:8
  movement [1] -                                                                                         22:11, 26:21, 32:15
                           November [1] - 40:6      17:10                       persons [2] - 12:2
 38:12                                                                                                    pressing [1] - 38:13
                           number [3] - 4:9,         order [8] - 15:11,         persuade [1] - 6:24
  MR [4] - 2:2, 2:5,                                                                                      pressure [1] - 22:20
                          28:4, 28:24               27:18, 27:19, 28:1,         phone [7] - 11:9,
 26:3, 39:21                                                                                              presumption [3] -
                                                    29:5, 39:13, 39:15         11:12, 11:15, 28:5,
  MS [20] - 6:4, 11:6,                                                                                   22:15, 26:9, 26:20
 11:9, 16:16, 22:16,                 O               ordered [1] - 29:8        28:22, 29:13, 29:22
                                                                                                          pretrial [9] - 2:12,
                                                     original [1] - 22:13       physical [1] - 23:18
 22:21, 26:4, 26:11,                                                                                     15:7, 15:17, 15:21,
 26:14, 26:17, 26:19,                                otherwise [3] - 6:14,      physically [1] - 27:3    16:22, 22:14, 22:24,
                           oath [1] - 32:20
 26:23, 27:23, 28:18,                               26:12, 32:22                pick [1] - 24:2          23:20, 24:10
                                                                   Page
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page       6
                                                                      46 of 48


  pretty [2] - 18:4,       15:21                       refused [3] - 30:25,       review [2] - 26:6,       27:20, 37:8
 35:20                      put [1] - 4:22            34:20, 35:13               26:7                       serious [2] - 30:2,
  prevent [1] - 36:15                                  regarding [1] - 15:13      reviewed [1] - 31:7      31:23
  prevented [1] - 27:6                Q                register [1] - 9:23        revisit [1] - 11:20       seriousness [1] -
  primary [1] - 5:9                                    Registered [1] - 40:2      reward [1] - 6:14        21:1
  print [3] - 25:18,                                   relates [1] - 28:22        ride [1] - 34:25          served [2] - 16:1,
                            questions [4] - 3:23,                                                          16:20
 25:19, 25:23                                          relating [1] - 31:8        riding [2] - 11:4,
                           3:24, 12:25, 32:17
  prison [2] - 6:17, 7:3                               relay [1] - 10:8          35:24                      services [6] - 2:12,
                            quick [4] - 18:4,                                                              22:14, 22:24, 23:20,
  private [1] - 13:6                                   release [5] - 6:17,        rights [5] - 3:10,
                           24:18, 26:6, 26:7                                                               24:11, 33:12
  privately [1] - 22:6                                7:4, 21:3, 25:9, 37:13     13:19, 14:11, 21:17,
                            quickly [1] - 26:13                                                             set [1] - 15:6
  probation [1] - 20:24                                released [2] - 4:18,      22:3
                            quite [2] - 10:5,                                                               seven [2] - 15:12,
  problem [1] - 37:21                                 29:24                       risk [2] - 34:10,
                           10:21                                                                           15:14
  procedural [1] -                                     remain [6] - 3:19,        38:16
 17:17                                                4:3, 22:1, 32:19, 33:1,     RMR [1] - 1:17            several [3] - 9:1,
  Procedure [2] -                     R               39:14                       road [1] - 31:12         20:18, 21:16
 15:18, 15:22                                          remains [2] - 29:6,        robbers [1] - 35:15       shall [1] - 39:14
  proceed [9] - 12:17,       ran [1] - 27:2           39:18                       Rochelle [1] - 1:10       shelter [1] - 35:7
 13:12, 14:13, 14:20,        ransom [1] - 6:14         remind [3] - 3:10,         room [2] - 15:8,          shot [1] - 35:18
 19:9, 19:24, 20:10,         rape [1] - 36:17         20:4, 20:5                 27:15                      show [2] - 26:1, 38:4
 22:10, 26:9                 reach [1] - 28:2          repeat [1] - 22:6          rope [2] - 27:14          shown [2] - 25:1,
  proceeding [2] - 7:2,      reached [1] - 29:8        repeatedly [1] - 28:2      Rudy [1] - 15:10         25:3
 12:14                       read [5] - 4:25, 5:21,    replaces [1] - 3:2         rule [1] - 33:18          shows [1] - 23:24
  Proceedings [1] -        5:23, 25:15, 37:6           report [5] - 22:14,        Rule [2] - 15:18,         Sibley [1] - 1:14
 1:20                        ready [1] - 14:15        22:24, 23:10, 23:25,       15:21                      sick [1] - 37:24
  proceedings [3] -          real [2] - 10:20,        38:8                        rules [1] - 25:7          side [5] - 15:12,
 5:12, 17:11, 17:20        18:11                       reported [1] - 1:20        run [2] - 7:21, 36:23    15:15, 16:24, 16:25
  produced [1] - 1:20        really [5] - 12:6,        REPORTER [1] -             run-by [1] - 7:21         signed [4] - 11:1,
  proffer [2] - 26:22,     13:2, 14:19, 35:22,        40:1                        runaway [1] - 36:15      26:24, 34:16, 37:2
 26:23                     38:3                        Reporter [5] - 1:17,       running [1] - 27:1        silent [4] - 3:19, 4:3,
  progress [1] - 15:1        Realtime [1] - 40:3      1:17, 40:2, 40:3, 40:7                               22:1, 33:1
  promptly [1] - 16:24       reason [2] - 29:20,       reports [2] - 30:3,                  S               simple [1] - 19:21
  proof [2] - 34:5, 38:6   30:25                      31:7                                                  simply [2] - 36:10,
  property [1] - 31:25       reasonable [1] - 14:6     represent [11] - 8:2,                               37:3
  propia [1] - 7:8                                    9:2, 9:10, 9:21, 10:12,     s/Kelly [1] - 40:6        sit [2] - 2:3, 38:2
                             reasonably [6] -
  prosecutor [1] - 34:3                               11:11, 11:14, 13:11,        safety [8] - 20:16,       six [2] - 16:5, 19:15
                           20:15, 21:8, 21:12,
  protection [2] -                                    13:12, 13:14, 15:14        20:17, 21:8, 21:9,         skills [1] - 17:11
                           32:12, 39:8, 39:12
 27:18, 27:20                                          represented [3] -         29:21, 31:22, 39:8,        slam [2] - 38:20
                             receive [1] - 24:24
                                                      13:4, 13:9, 21:17          39:9                       slaves [1] - 4:18
  protective [1] - 29:5      received [2] - 5:19,
                                                       request [4] - 11:7,        saw [1] - 31:12           slayer [1] - 37:19
  prove [2] - 14:5, 38:7   22:23
                                                      16:25, 17:22, 34:3          scan [1] - 24:19          snail [1] - 11:16
  proved [2] - 36:11,        recently [1] - 29:15
 37:17                                                 requested [2] - 17:4,      scene [2] - 35:22,        so-called [1] - 37:4
                             recommendation [1]
                                                      39:22                      36:16
  provide [1] - 16:24      - 23:19                                                                          society [1] - 38:19
                                                       require [1] - 14:4         screen [1] - 9:14
  provided [1] - 17:1        recommending [1] -                                                             someone [1] - 35:14
                                                       required [3] - 14:6,       screening [1] - 9:13
  providing [1] - 35:6     24:11                                                                            somewhat [1] - 3:1
                                                      20:16, 39:13                second [3] - 22:19,
  prowl [1] - 37:16          record [10] - 17:7,                                                            soon [1] - 10:8
                                                       requirement [1] -         23:16, 23:17
  public [3] - 13:20,      18:14, 19:6, 23:19,                                                              sorry [10] - 5:10, 6:6,
                                                      16:20                       Section [3] - 6:9,
 16:13, 16:18              26:1, 27:21, 34:9,                                                              11:6, 23:1, 23:5,
                                                       requires [1] - 15:11      6:21, 26:7
  public's [1] - 16:23     36:11, 38:5, 38:15                                                              28:15, 29:2, 31:22,
                                                       residence [2] -            see [8] - 7:6, 8:16,     33:24, 39:1
  pull [2] - 10:9, 27:7      recorded [3] - 3:21,
                                                      23:14, 31:25               14:1, 16:3, 26:8,
  pulled [1] - 27:3        29:22, 32:23                                                                     sound [1] - 4:24
                                                       respect [1] - 30:6        26:13, 34:20, 38:3
  punishment [1] -           recused [1] - 8:9                                                              source [1] - 13:7
                                                       result [2] - 28:9, 31:6    seeing [1] - 36:20
 30:5                        reference [1] - 26:14                                                          Spanish [1] - 5:6
                                                       resulted [3] - 30:10,      seized [1] - 6:12
  purports [1] - 11:12       references [1] -                                                               SPEAKER [1] - 33:25
                                                      31:3, 31:16                 senior [1] - 35:14
  purpose [2] - 20:13,     27:25                                                                            special [3] - 6:18,
                                                       results [2] - 9:17,        sense [2] - 23:23,
 30:10                       referencing [1] -                                                             7:5, 7:8
                                                      35:22                      34:7
  purposely [1] - 30:10    29:4                                                                             specifically [2] -
                                                       retract [3] - 18:5,        sentences [2] - 14:9,
  purposes [3] - 3:7,        referring [1] - 27:19                                                         28:7, 37:15
                                                      18:23, 28:8                22:18
 3:13, 22:12                 refers [1] - 11:13                                                             specifies [1] - 26:15
                                                       return [2] - 30:24,        September [7] - 3:3,
  pursuant [2] - 15:17,      refuse [1] - 8:8                                                               speedy [7] - 13:20,
                                                      30:25                      6:10, 6:11, 6:22, 6:23,
                                                                   Page
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page       7
                                                                      47 of 48


 15:25, 16:2, 16:9,           subpoenas [1] -           10:15, 10:16, 10:18,       15:23, 17:9, 17:11,        19:7, 32:19, 33:17,
 16:15, 16:19, 16:23         13:24                      10:19, 10:20, 11:8,        17:18, 17:24, 18:1,        35:4, 36:15, 36:18
  Speedy [1] - 15:25          sue [2] - 25:18, 25:23    11:15, 11:18, 11:24,       18:7, 18:8, 19:10,          underlies [1] - 29:11
  spoken [1] - 29:14          sugar [1] - 35:15         12:4, 12:9, 12:12,         19:25, 21:20, 21:21,        UNIDENTIFIED [1] -
  Springer [2] - 35:9,        suggest [1] - 32:11       12:17, 12:19, 12:21,       21:24, 22:2, 24:24,        33:25
 36:5                         Suite [2] - 1:11, 1:18    12:22, 12:24, 12:25,       25:8, 29:6, 33:15,          uninvited [1] - 30:22
  Springer-type [2] -         summarize [1] - 6:1       13:2, 13:3, 13:16,         33:20, 33:22, 34:18         UNITED [2] - 1:1, 1:3
 35:9, 36:5                   summer [3] - 35:4,        13:18, 14:12, 14:15,        today's [5] - 2:7,         United [13] - 1:18,
  stage [3] - 13:5,          35:5, 37:19                14:19, 14:22, 15:2,        17:20, 17:21, 22:12        2:6, 2:9, 2:11, 13:21,
 13:14, 14:4                  supervised [2] -          15:4, 15:5, 15:6, 16:3,     top [1] - 10:9            14:4, 14:9, 16:17,
  standby [11] - 2:12,       6:17, 7:4                  16:7, 16:10, 16:12,         toward [1] - 6:25         26:7, 32:3, 39:14
 4:1, 7:9, 7:14, 8:6,         supervision [1] -         16:17, 18:3, 18:8,          transcribed [1] -          unlawfully [1] - 6:12
 8:8, 8:11, 8:15, 20:7,      20:24                      18:9, 18:11, 18:13,        40:4                        unless [1] - 26:12
 21:19, 39:18                 supported [2] -           18:14, 18:17, 18:18,        transcript [2] -           unstable [1] - 36:15
  started [2] - 3:3,         21:10, 21:13               18:19, 18:20, 18:22,       39:22, 40:4                 up [15] - 2:1, 6:17,
 32:20                        swear [1] - 2:18          18:24, 18:25, 19:2,         TRANSCRIPT [1] -          7:3, 7:4, 10:13, 10:22,
  State [1] - 27:21           swerve [1] - 31:13        19:3, 19:4, 19:5, 19:8,    1:7                        20:9, 24:2, 27:12,
  state [2] - 10:6,           swerved [1] - 31:14       19:11, 19:14, 19:15,        Transcript [1] - 1:20     31:12, 31:25, 34:11,
 38:17                                                  19:16, 19:21, 19:24,        transcription [1] -       35:5, 37:22
                              system [1] - 28:17
  statement [9] - 11:1,                                 20:1, 20:4, 21:6, 21:7,    1:21                        ups [1] - 36:12
                                                        21:15, 21:16, 22:4,         transported [2] -
 18:4, 24:25, 25:12,                    T               22:5, 22:9, 22:10,
                                                                                                               upset [1] - 30:20
 28:8, 29:16, 31:9,                                                                27:11, 27:13                urge [3] - 16:24,
 34:16, 37:2                                            22:17, 22:23, 22:25,        transporting [1] -        28:3, 39:16
  statements [2] -            taillights [1] - 35:2     23:2, 23:5, 23:6, 23:7,    6:15                        urging [1] - 29:15
 30:9, 31:5                   tainted [3] - 36:10,      23:9, 23:12, 23:13,         treats [1] - 35:7
                             36:11, 37:4                23:22, 24:1, 24:2,
  States [13] - 1:18,
                              talks [2] - 23:16,        24:3, 24:5, 24:8, 24:9,
                                                                                    trial [24] - 3:12,                   V
 2:6, 2:9, 2:11, 13:21,                                                            13:20, 13:22, 13:23,
 14:5, 14:9, 16:18,          23:17                      24:10, 24:13, 24:15,       14:1, 14:5, 14:6, 14:8,
 26:7, 32:3, 39:14            temporary [1] - 26:9      24:18, 24:20, 24:21,       15:6, 15:8, 15:25,          various [1] - 27:12
  states [1] - 32:1           terminated [1] - 8:3      24:22, 24:23, 25:1,        16:2, 16:9, 16:15,          vast [1] - 4:12
                              terrible [1] - 9:17       25:4, 25:6, 25:10,         16:20, 16:23, 17:1,         vehicle [2] - 27:5,
  STATES [2] - 1:1, 1:3
                              testify [11] - 14:2,      25:13, 25:14, 25:16,       17:3, 17:6, 19:11,         27:6
  statute [1] - 26:13
                             14:7, 21:20, 21:21,        25:17, 25:18, 25:21,       19:16, 19:19                versus [1] - 2:7
  statutory [3] - 22:15,
                             21:22, 21:24, 32:18,       25:23, 25:25, 26:1,         Trial [1] - 15:25          victim [13] - 27:1,
 26:8, 26:20
                             32:19, 32:21, 33:9         26:6, 26:12, 26:16,                                   27:9, 28:2, 28:7,
  stay [1] - 38:17                                                                  tried [3] - 27:7, 30:24
                              testimony [7] - 7:1,      26:18, 26:21, 27:21,                                  28:23, 29:8, 29:14,
  stayed [1] - 35:5                                                                 truck [3] - 11:4,
                             28:3, 29:10, 29:25,        28:14, 28:20, 28:24,                                  29:19, 29:21, 29:24,
  staying [1] - 27:15                                                              35:24, 35:25
                             37:4, 38:10                29:2, 30:12, 30:13,                                   31:19, 31:21, 39:9
  still [10] - 8:11, 8:14,                                                          true [2] - 30:15, 37:7
                              thankfully [1] - 27:5     30:14, 30:16, 32:5,                                    viewpoint [4] -
 11:17, 18:3, 19:12,                                                                truth [5] - 2:18, 2:19,
                              THE [223] - 1:1, 1:8,     32:6, 32:7, 32:9,                                     33:15, 33:21, 33:22,
 23:7, 23:23, 29:7,                                                                2:22, 32:20
                             1:10, 1:13, 2:1, 2:3,      32:14, 33:4, 33:5,                                    37:24
 32:19, 35:19                                                                       try [5] - 12:10, 14:24,
                             2:6, 2:20, 2:22, 2:24,     33:6, 33:7, 33:8, 33:9,                                violation [2] - 6:8,
  stone [1] - 20:2                                                                 29:24, 36:7, 36:15
                             2:25, 3:15, 3:16, 4:4,     33:10, 33:11, 33:14,                                  6:21
  stop [1] - 29:18                                                                  trying [4] - 29:19,
                             4:5, 4:6, 4:7, 4:11,       34:1, 38:23, 38:24,                                    virgin [4] - 35:21,
  stopped [1] - 35:2                                                               37:18, 37:23, 38:18
                             4:13, 4:14, 4:15, 4:16,    38:25, 39:1, 39:4,                                    37:5, 37:15, 37:17
  store [2] - 27:3, 27:4                                                            Tuesday [1] - 15:9
                             4:22, 4:24, 4:25, 5:2,     39:6                                                   vs [1] - 1:4
  stories [5] - 30:15,                                                              Two [2] - 6:20, 29:1
                             5:3, 5:4, 5:5, 5:6, 5:7,    thereafter [1] - 30:24                                Vulcan [1] - 34:25
 34:11, 34:14, 38:6,                                                                two [5] - 6:2, 6:7,
                             5:8, 5:9, 5:10, 5:11,       therefore [3] - 12:2,
 38:7                                                                              12:19, 36:7, 38:9
                                                        38:5, 38:7
  story [4] - 29:20,         5:14, 5:16, 5:20, 5:21,
                                                         threaten [1] - 6:24
                                                                                    two-count [1] - 6:7                 W
                             5:22, 5:23, 5:25, 6:1,                                 type [2] - 35:9, 36:5
 36:12, 37:6, 37:23                                      threatening [1] -
                             7:6, 7:13, 7:16, 7:18,
  Street [1] - 1:14                                     10:21                                                  waiting [1] - 6:6
                             7:20, 7:22, 7:23, 7:25,
  stricken [2] - 36:14,
                             8:5, 8:6, 8:7, 8:11,        tied [1] - 27:12                     U                warn [1] - 32:21
 38:11                                                   ties [1] - 23:15                                      warning [1] - 33:12
                             8:12, 8:14, 8:16, 8:18,
  struck [1] - 31:10                                     timely [1] - 17:1                                     water [1] - 35:6
                             8:20, 8:22, 8:23, 8:24,                                U.S [4] - 1:10, 4:13,
  stuff [5] - 9:25,                                                                                            weapons [1] - 30:3
                             8:25, 9:2, 9:4, 9:5,        Title [1] - 26:6          4:19, 5:18
 10:22, 19:12, 20:1,                                                                                           weight [2] - 20:21,
                             9:6, 9:9, 9:12, 9:15,       today [36] - 2:8, 2:15,    U.S.C [2] - 6:9, 6:21
 25:4                                                                                                         21:13
                             9:16, 9:19, 9:22, 10:2,    2:22, 3:7, 3:12, 3:16,      ulterior [1] - 37:23
  subject [1] - 32:3                                                                                           weird [1] - 36:8
                             10:3, 10:4, 10:5,          4:23, 6:6, 10:7, 14:23,     under [10] - 15:5,
  subpoenaed [1] -                                      15:13, 15:15, 15:19,                                   welcome [2] - 7:22,
                             10:11, 10:13, 10:14,                                  15:25, 18:5, 18:22,
 33:7
                                                                   Page
USDC IN/ND case 2:11-cr-00163-JTM-JPK document 43 filed 12/01/11 page       8
                                                                      48 of 48


 7:25
  whole [2] - 2:19,
 38:17
  wife [3] - 30:20,
 30:24, 31:4
  wild [2] - 30:14,
 34:11
  willfully [1] - 6:15
  willing [2] - 11:11,
 37:13
  wise [1] - 13:13
  withdraw [1] - 29:15
  witness [1] - 30:16
  witnesses [6] -
 13:25, 14:2, 21:22,
 21:23, 32:16, 33:3
  word [2] - 19:19,
 38:20
  words [1] - 38:21
  write [1] - 4:25
  writing [1] - 16:4
  written [6] - 8:25,
 9:6, 15:10, 17:4,
 19:18, 39:15

            Y

  y'all [1] - 33:19
  years [5] - 6:18, 7:3,
 7:4, 22:19, 35:14
  yellow [1] - 33:18
  yepper [1] - 5:10
  yesterday [3] - 4:23,
 25:3, 25:20
  yourself [3] - 13:12,
 14:7, 32:18
